Case 18-12839-CSS Doc 1 Filed 12/19/18 Page 1 of 64

Fill in this information to identify your case:

 

United States Bankruptcy Court for the:
DlSTR|CT OF DELAWARE

Case number (if/<nown) Chapter 1 1

|:| check ifihis an
amended filing

 

 

Official Form 201
Voluntary Petition for Non-lndividuals Filing for Bankruptcy 4116

lf more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non~lndividuals, is available.

1. Debtor's name Alcor Energy, LLC

 

2. All other names debtor
used in the last 8 years

include any assumed N°ne

names, trade names and
doing business as names

 

3. Debtor's federal
Empioyer identification XX-XXXXXXX

 

 

 

 

Number (ElN)
4. Debtor's address Principal place of business Mai|ing address, if different from principal place of
business
7754 East Ve|ocity Way, Mesa, Arizona, 85212
Number, Street, City, State & ZlP Code P.O. Box, Number, Street, City, State & ZlP Code
Maricopa Location of principal assets, if different from principal
Coumy place of business

 

Number, Street` City, State & ZlP Code

 

 

5. Debtor's website (URL) www.alcor.energy

 

6- Tyl°e °f debtor lg Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
[:| Partnership (excluding LLP)
[:\ Other. Specify:

 

 

Oflicial Form 201 Voluntary Petition for Non-lndividuals Filing for Bankruptcy page 1
01:23790385.4

Case 18-12839-CSS Doc 1 Filed 12/19/18 Page 2 of 64

Debtor A|cor Energy, LLC
Name

Case number (ifknown)

 

7. Describe debtor's business A. Check orie:

Hea|th Care Business (as defined in 11 U.S.C. § 101(27A))
Sing|e Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
Railroad (as defined in 11 U.S.C. § 101(44))

Stockbroker (as defined in 11 U.S.C. § 101(53A))

Commodity Broker (as defined in 11 U.SiC. § 101(6))
Clearing Bank (as defined iri 11 U.S.C. § 781(3))

None of the above

ljl___|[|l:l|:ll]

B. Check all that apply

[:| Tax-exempt entity (as described in 26 U.S.C. §501)

l:l investment company, including hedge fund or pooled investment vehicle (as denned in 15 U.S.C. §80a-3)
I:l investment advisor (as deHned in 15 U.S.C. §80b*2(a)(11))

C. NA|CS (North American lndustry Classification System) 4-digit code that best describes debtor.
See http://www.uscourts.gov/four-digit-national-association-naics-codes.

 

_Lii__
8. Under which chapter of the Check one:
Bankruptcy Code is the
debtor fiiing? I:] Chapter 7
\:l Chapter 9

§ Chapter11. Check all that apply:

}x{ Debtor's aggregate noncontingent liquidated debts (exc|uding debts owed to insiders or affiliates)
are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).

>'A The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). lfthe debtor is a small
business debtor, attach the most recent balance sheet, statement of operations, cash-flow
statement and federal income tax return or if all of these documents do not exist, follow the
procedure in 11 U.S.C. § 1116(1)(B).

m A plan is being filed With this petition.

Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
accordance With 11 U.S.C. § 1126(b).

l:] The debtor is required to file periodic reports (for example, 10K and 1OQ) with the Securities and
Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. Fi|e the
attachment to Voluntary Petition for Non~lndividuals F/'/ing for Bankruptcy under Chapter 1 1
(Ofncial Form 201A) with this form.

[:l The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

l:|

[] chapter 12

 

9. Were prior bankruptcy
cases filed by or against
the debtor within the last 8
years?

lf more than 2 cases, attach a
separate list.

 

No.

Yes.
District When Case number
District When Case number

 

 

10. Are any bankruptcy cases
pending or being filed by a
business partner or an
affiliate of the debtor?

List all cases. lf more than 1,

lg No
l:\ Yes.

 

 

 

attach a separate list Debtor Relationship
District When Case number, if known
Official Form 201 Voluntary Petition for Non~lndividua|s Filing for Bankruptcy page 2

01223790385.4

 

 

Case 18-12839-CSS Doc 1 Filed 12/19/18 Page 3 of 64

Debtor Alcor Energy, LLC

Name

Case number (ifknown)

 

 

11. Why is the case filed in Check all that app/y:
this district? v . . . . . . . . . . . . . .
Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other district.
l___l A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.
12. Does the debtor own or |X| NO

have possession of any

real property or personal 1:|
property that needs Y€S~
immediate attention?

Answer below for each property that needs immediate attention. Attach additional sheets if needed.

Why does the property need immediate attention? (Check all that app/y.)
I:l lt poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?

 

l:l lt needs to be physically secured or protected from the weather.

l:l lt includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).

l:] Other

 

Where is the property?

 

Number, Street, City, State & ZlP Code
ls the property insured?

l:]No
l:l

Yes. insurance agency

 

Contact name

 

Phone

 

 

- Statistical and administrative information

 

13. Debtor's estimation of Check one.'

available funds

Funds will be available for distribution to unsecured creditors

[:\ After any administrative expenses are paid, no funds will be available to unsecured creditors.

 

 

14- ESfin_"afed number of |:l 1-49 l:l 1,000-5,000 I___l 25,001-50,000
°'ed"°'$ E 50-99 ij 5001~10,000 l:l 50,001~100,000
100-199 |:l 10,001-25,000 [] lvloreihanloo,ooo
E 200-999
15' ESfimafed ASS€fS l:l $0- $50,000 l:l $1,000,001 _ 310 million |:] $500,000,001 ~ $1 billion

|:] $50,001 ~$100,000
l:l $100,001 -$500,000
|:l $500,001 - si million

$10,000,001- $50 million
[:l $50,000,001 - $100 million
|:I $100,000,001 - $500 million

l:| $1,000,000,001 - $10 billion
[:l $10,000,000,001 - $50 billion
[:l lviore then 350 billion

 

16. Estimated liabilities l:| $0 _ $50,000
l:l $50,001 ~$100,000
|:I $100,001 - $500,000

ij $500,001 - si million

X] $1,000,001 - $10 million
l:| $10,000,001- $50 million
E 350,000,001 ~ $100 million
l:l $100,000,001 - $500 million

|:l s500,000,001 - $1 billion

l:l $1,000,000,001 - $10 billion
l:l $10,000,000,001 - $50 billion
E i\/lore than $50 billion

 

Ofncial Form 201
01;23790385.4

Voluntary Petition for Non-lndividua|s Filing for Bankruptcy

page 3

 

Case 18-12839-CSS Doc 1 Filed 12/19/18 Page 4 of 64

Debtor Aicor Energy, LLC Case number (ifknown)

 

Name

- Request for Reiief, Deciaration, and Signatures

WARN|NG -- Bankruptcy fraud is a serious crime. |\/laking a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
of authorized The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
representative of debtor
l have been authorized to file this petition on behalf of the debtor.
l have examined the information in this petition and have a reasonable belief that the information is trued and correct
| declare under penalty of perjury that the foregoing is true and correct

Executed on 12/19/2018

 

 

i\/|i\/l / DD / YYYY
""‘t a
\\//?kj”"/? i’///M`:}
X § ' i’ ,,» Wiiey Zimmerman
Signature of authorized representativeM of debtor Printed name

Tit|e Chief Executive Officer

 

 

 

18. Signature of attorney X /s/M. Blake Cieary Date 12/19/2018
Signature of attorney for debtor l\l|l\ll / DD / YYYY
M. Blake Cieary

 

Printed name

Young Conaway Stargatt & Tayior, LLP
Firm name

Rodney Square

1000 N. King Street

Wiimington, DE 19801

Number, Street, City, State & ZlP Code

Contact phone (302) 571-6600 Email address mbcieaMst.com

3614 DE
Bar number and State

Offlciai Form 201 Voluntary Petition for Non-individuais Filing for Bankruptcy page 4
01:23790385,4

 

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ACTION BY WRITTEN CONSENT
OF THE
BOARD OF MANAGERS OF
ALCOR ENERGY, LLC

December 19, 2018

The undersigned, being a majority-in-interest of the Managers currently appointed to the
Board of Managers (the “Board”) of Alcor Energy, LLC, a Delaware limited liability company,
(the “Company”), hereby consent to and approve the adoption of the following resolutions and
each and every action effected thereby or pursuant thereto by written consent as if such actions
had been taken at a meeting of the Board of the Company in accordance with Section 7.6 of the
Company’s Limited Liability Company Agreement dated effective May 23, 2017 (the “LLC
Agreement”) and with the applicable limited liability company laws of Delaware.

WHEREAS, the Company is managed by the Board;

WHEREAS, the Board has reviewed and considered materials presented by legal and
financial advisors of the Company and by the Company’s management regarding the liabilities
and liquidity situation of the Company, the strategic alternatives available to the Company, and
the impact of the foregoing on the Company’s business;

WHEREAS, the Board has received advice from the legal and financial advisors of the
Company and from the Company’s management regarding the possible need to liquidate or
restructure the Company, and has fully considered each of the strategic alternatives available to
each Company, and the impact of the foregoing on each Company’s business and its
stakeholders;

WHEREAS, the Board is empowered pursuant to clause (i) of Section 7.l of the LLC
Agreement to determine to initiate a bankruptcy or similar proceeding on the part of the
Company;

WHEREAS, the Board has reviewed and considered the recommendations of the
Company’s legal and financial advisors and management regarding the relief that would be
necessary and advisable to obtain from the Bankruptcy Court to allow the Company to
effectively transition into operation as a debtor in possession (collectively, the “First Day
Relief’) under chapter ll of title ll of the United States Code, ll U.S.C. §§ 101-1532 (the
“Bankruptcy Code”);

WHEREAS, the Board has determined that it is fair, appropriate, advisable, necessary,
and in the best interests of the Company, its creditors, members, and other stakeholders that the
Company file or cause to be filed a voluntary petition for relief under the provisions of chapter
ll ofthe Bankruptcy Code and seek the First Day Relief; and

WHEREAS, in connection with the foregoing the Board desires to approve the following
resolutions (the “Resolutions”).

 

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N()W, THEREF()RE, BE IT:

CHAPTER 11 PETITION Al§D FIR§T DAY RELIEF

RESOLVED, that in thejudgment of the Board, it is desirable and in the best interests of
the creditors, members, and other stakeholders of the Company that the Company (i) file or
cause to be filed a voluntary petition for relief under the provisions of chapter ll of the
Bankruptcy Code (the “Petition”) and (ii) seek the First Day Relief;

RESOLVED, that the filing of a voluntary petition on behalf of the Company be, and the
same is hereby, approved an adopted in all respects and that Randall Smith and Neil Gilmour lll,
in their capacities as l\/Ianagers of the Company, Wiley Zimmerman, in his capacity as Chief
Executive Officer of the Company, and Don Pitts, in his capacity as Chief Financial Officer of
the Company (collectively the “Authorized Agents” and each individually an “Authorized
Agent”), hereby are, and any of them individually in such respective capacities hereby is,
authorized and empowered to execute, deliver, verify and cause to be filed on behalf of the
Company all petitions, schedules, lists, and other motions, papers, or documents, and to take any
and all actions that any of the Authorized Agents deems necessary or proper to obtain such relief,
including, without limitation, any action necessary to maintain the ordinary course operation of
the business of the Company;

BE§TENTION OF PROFESSIOL§ALS

RESOLVED, that the Authorized Agents are, and each of them individually hereby is,
authorized and directed in the name and on behalf of the Company to employ D.R. Payne and
Associates as restructuring financial advisor in connection with any case commenced by the
Company under the Bankruptcy Code and all related matters, and any such prior actions are
hereby ratified in their entirety;

RESOLVED, that the Authorized Agents are, and each of them individually hereby is,
authorized and directed in the name and on behalf of the Company to employ the law firm of
Young Conaway Stargatt & Taylor, LLP as general bankruptcy counsel to represent and assist
the Company, as a debtor and a debtor in possession, in carrying out its duties under the
Bankruptcy Code and to (a) execute, acknowledge, deliver and verify the Petition and all other
ancillary documents, and to cause the Petition to be filed with the Bankruptcy Court and make or
cause to be made, prior to execution thereof, any modifications to the Petition or any ancillary
document as an Authorized Agent of the Company deems necessary, desirable, or appropriate to
carry out the intent and accomplish the purpose of these resolutions, (b) execute, acknowledge,
deliver, verify, and file or cause to be filed all petitions, schedules, statements, lists, motions,
applications, and other papers or documents necessary or proper in connection with the
foregoing, and (c) execute, acknowledge, deliver, and verify any and all other documents
necessary or proper in connection therewith and to administer the Company’s chapter ll case in
form or forms as any Authorized Agent of the Company may deem necessary or proper and in
order to effectuate the purpose of the intent of the foregoing resolutions;;

RESOLVED, that the Authorized Agents are, and each of them individually hereby is,
authorized and directed in the name and on behalf of the Company, as a debtor and a debtor in

 

Case 18-12839-CSS Doc 1 Filed 12/19/18 Page 7 of 64

possession, to retain and employ any other professionals to assist the Company, as a debtor and a
debtor in possession, in carrying out its duties under the Bankruptcy Code and to take any and all
actions to advance the Company’s rights and obligations;

RESOLVED, that any Authorized Agent hereby is authorized and directed in the name
and on behalf of the Company to execute appropriate retention agreements, pay appropriate
retainers, and cause to be filed appropriate applications for authority to retain the services of the
foregoing professionals as necessary;

FURTHER ACTIONS AND PRIOR ACTIONS

RESOLVED, that in addition to the specific authorizations heretofore conferred upon the
Authorized Agents, the Authorized Agents or their respective designees shall be, and each of
them, acting alone, hereby is, authorized, directed, and empowered in the name of, and on behalf
of, the Company, to take or cause to be taken any and all such further actions, to execute and
deliver any and all such agreements, certificates, instruments, and other documents and to pay all
expenses, including filing fees, in each case as in their respective judgment shall be necessary or
desirable to fully carry out the intent and accomplish the purposes of the Resolutions adopted
herein;

RESOLVED, that all lawful acts, actions, and transactions relating to the matters
contemplated by the foregoing Resolutions done in the name of and on behalf of any Company,
which acts would have been approved by the foregoing Resolutions except that such acts were
taken before these Resolutions were certified, are hereby in all respects approved and ratified;
and

RESOLVED, that a copy of these Resolutions of the Board shall be filed in the records
of the Company.

[Remainder of Page Left Intentionally Blank]

 

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IN WIT?\€BSS WHEREOF. the undersigned have executed this Action by Written Consent to be
effective as ot`rhe date first written above

 

'By: ' , z
Naq(@<"”weiiloilm@m iii
Title; Manage'r

By: v ,
Name: Randall Smith
"l`itle; l\/lanager

 

SloN/>i _'i.)n,i: twin 'I'o ACT§<,)N ex \Vx'<r'i"itzn C<i)NSerr

 

 

Case 18-12839-CSS Doc 1" Filed 12/19/18‘ Page 9 of'64

II`\i`W'I'i.`_NESS WHEREOF, thenndersigned have executed this A_<`>_t-i`cn_bylWritt`en”-CQ’I§SSI!€ tube
effective as of the date'fi;rst written above.»y `

By:

 

Name N'eii.;jiimour"li!
Ti.tle: Manaser

By: sign Eé%

' Name Randall$rnxth` il
’l`itlfe: 'Manager;

   

 

SIGNA'TU ns PAGE re fiction er WRH=TEN CoNsizNT

 

 

Case 18-12839-CSS Doc 1 Filed 12/19/18 Page 10 of 64

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

_________________________________ X
ln re: Chapter ll
Alcor Energy, LLC,l Case No. 18-____ (__)

Debtor. '
_________________________________ X

COMBINED CORPORATE OWNERSHIP STATEMENT
AND LIST OF EOUITY INTEREST HOLDERS
Pursuant to Rules 1007(a)(l), lOO7(a)(3), and 7007.1 of the F ederal Rules of Bankruptcy

Procedure, the above-captioned debtor and debtor in possession (the “QQEM”) hereby states that

the following chart lists (i) all corporations, other than governmental units, that directly or

indirectly own lO% or more of any class of interests in the Debtor and (ii) all equity security

 

 

 

 

holders of the Debtor:
Shares
Name and Addl’eSS Class Number of Shares and
Percentage Ownership of
Share Class
Alcor Energy Solutions LLC Class A 5,000,()00
7754 East Velocity Way, Suite lOl lOO%
Mesa, Arizona 85212
Ocho Ventura, LLC Class B 5,000,000
3l Windmill Way l()()%
Calgary, Alberta, T3Z lH5
Canada

 

 

 

 

 

 

l The last four digits of the Debtor’s taxpayer identification number are 0924. The Debtor’s address is 7754 East
Velocity Way, Mesa, Arizona 85212.

 

Case 18-12839-CSS Doc 1 Filed 12/19/18 Page 11 of 64

Fil| in this information to identify your case:

 

United States Bankruptcy Court for the:
D|STR|CT OF DELAWARE

Case number (rf/<nown) Chapter 1 1

l:l check innis an
amended filing

 

 

Officia| Form 204

Chapter 1 1 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
Unsecured C|aims on a Consolidated Basis and Are Not insiders 12/15
A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. |nclude claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). A|so, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
largest unsecured claims.

   

 

   
 

l Mesa Green Electric David T Bonf`iglio Litigation Contingent $600,000.00
Power Phase I, LLC 4356 N Civic Center Plaza Disputed plus interest
Scottsdale, AZ 85251 Unliquidated and fees

480-970-0974
david@bonfiglio-law.com

 

2 Fort Berthold Reed Soderstrom Penalty $402,602.77
Reservation TERO Pringle & Herigstad P.C.
2525 Elk Drive

Minot, ND 58701
701-833-6910
rsoderstrom@pringlend.com

 

3 Trustland Oilfield Steve Kelly Litigation Contingent $165,462.37
Services, LLC 720 Western Ave. Disputed
Ste 204, Unliquidated
Minot, ND 5 870]

701-421-7930
steve.kelly@trustlandllc.com

 

 

 

 

 

 

 

 

 

 

 

4 Sunbelt Transformer Karina Santos Disputed Contingent $73,338.75
Inc. 1922 S. MLK Jr. Dr. Disputed
Temple, TX 76504 l Unliquidated
254-742-7907
ksantos@sunbeltusa.com
Ofncial Form 204 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured C|aims page 1

Ol :238 10723.1

 

Case 18-12839-CSS Doc 1 Filed 12/19/18 Page 12 of 64

Debtor Alcor Energy, LLC Case number (if known)

 

 

Name

    

 

 

5 Sunmore LLC Thomas Johnston Broker Rent Contingent $40,000.00

619 W Texas Ste. 111 Disputed
Midland, TX 79701 Unliquidated

432-688-8201
Fax 432-934-3333
realestateranch@aol.com

 

6 46 LLC Jeff McCall Trade Debt $37,006.28
4307 N. Civic Center Plaza
480-946-0066
mail@mcaarch.com

 

7 Lewis Roca Rothgerber Centralized Accounting Dept. Legal Fees Contingent $19,220.97
Christie LLP 201 East Washington St. Disputed
Suite 1200 Unliquidated

Phoenix, AZ 85004-2595
602-239-7486
ar@lrrc.com

 

8 OTC Trucking & Tammy Kerber Trucking Contingent 312,821.00
Logistics 5501 Sherwood Dr. Disputed
Apt. J103 Unliquidated

Midland, TX 79707
417-322-4916
otc.trucking.llc@gmail.com

 

9 First Insurance Accounts Payable Insurance $9,769.13
Funding 450 Skokie Blvd, Ste 1000
Northbrook, IL 60062-7917
800-837-2511
csr@firstinsurancefunding.com

 

10 The Hartford Accounts Payable Insurance $8,881.44
PO Box 660916
Dallas, TX 75266
866-467-8730

 

 

 

 

 

 

 

 

 

 

Otticia| Form 204 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured C|aims page 2

01 :23810723.1

 

Case 18-12839-CSS Doc 1 Filed 12/19/18 Page 13 of 64

Debtor Alcor Energy, LLC Case number (if known)

 

Name

  

 

11 Midwest Compressor Kenny Gerber Trade Debt
Systems, LLC dba LRS P.O. Box 1381
Pampa, TX 79066
806-669-3427
kgerber@lrssys.com

$7,500.00

 

 

12 Sunwest, Inc. Tom Sunderland Trade Debt
34th Avenue S #1233
Fargo, ND 58104
701-205-6804
tsun@live.corn

$4,150.00

 

13 Industrial Commission Division of Occupational Safety Fine Contingent
of Arizona & Health Disputed
800 W. Washington Unliquidated
Phoenix, Arizona 85007
602~542-4411
comments@azdosh.gov

$1,875.01

 

14 Trinity Consultants Michael Meister Emission Contingent
12700 Park Central Dr. Consulting Disputed
Suite 2100 Unliquidated
Dallas, TX 75251

972-661-8100
mineister@trinityconsultants.com

$1,093.50

 

15 Ameripride Services, Accounts Payable Trade Debt
lnc. 6025 W. Van Buren
Phoenix, AZ 85043-3509
800-675-6362

acctrecl 7@ameripride.com

$1,082.22

 

16 Chubb Accounts Payable Insurance
P.O. Box 382001
Pittsburgh, PA 15250-8001
800-372-4822
customercare@chubb.com

$1,032.68

 

17 Arguindegui Oil Accounts Payable Trade Debt
Company PO Box 1369 4506 Highway 359
Laredo, Texas 78042
956-744-6130
carlos.perez@argpetro.com

 

 

 

 

 

 

 

 

$494.04

 

 

Officia| Form 204 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured C|aims

01:23810723.1

page 3

 

Case 18-12839-CSS Doc 1 Filed 12/19/18 Page 14 of 64

Debtor Alcor Energy, LLC Case number (if known)
Name

 

 

 

18 Zachary Hart Zachary Hart Uncleared $16.17
3335 Prairie Commons Street Check
Williston, ND 58801
701-651-6931

 

19 Bruin E&P Operating, Paul J Forster Litigation Contingent Unknown
LLC Crowely Fleck PLLP Disputed
500 Transwestern Plaza II Unliquidated

490 N 31St St. 500

Billings, MT 59101
701-224-7546
pforster@crowleyfleck.corn

 

 

 

 

 

 

 

 

 

 

Official Form 204 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured C|aims page 4

01 :2381 0723.1

 

Case 18-12839-CSS Doc 1 Filed 12/19/18 Page 15 of 64

Fi|l in this information to identify the case and this filing:

Debtor Name A|cor Energy, LLC

 

United States Bankruptcy Court for the: District of Delaware
(State)

Case number (lf known):

 

 

Official Form 202
Declaration Under Penalty of Perjury for Non-lndividua| Debtors 12/15

 

 

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the
document, and any amendments of those documents This form must state the individua|’s position or relationship to the debtor, the
identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARN|NG -- Bankruptcy fraud is a serious crime. llllaking a false statement concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152,
1341, 1519, and 3571.

- Declaration and signature

l am the president another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership;
or another individual serving as a representative of the debtor in this case.

l have examined the information in the documents checked below and l have a reasonable belief that the information is true and correct
l:l Schedule A/B: Assets-Rea/ and Persona/ Property (Official Form 206A/B)

l:l Schedu/e D: Creditors Who Have C/aims Secured by Property (Ofncial Form 206D)
1:1 Schedu/e E/F.' Creditors Who Have Unsecured Claims (Official Form 206E/F)

1:1 Schedu/e G.’ Executo/y Contracts and Unexpired Leases (Oificia| Form 206(5)

5 Schedule H: Codebtors (Oificial Form 206H)

5 Summary of Assets and Liabi/ifies for Non-/ndividua/s (Ofncial Form 206Sum)

g Amended Schedu/e

 

|X| Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured C/aims and Are Not /nsiders (Officia| Form 204)

IX Other document that requires a declaration Coinbined Cornorate Ownersl§ip Statcineiit and List ofEduitv Interest Holders

| declare under penalty of perjury that the foregoing is true and correct.

l
x §ng ifj

Executed on 12/19/2013 z
l\/|l\/l / DD / YYYY Signature of individual signing on b§halfgggmoW
j

f
!.
s

V\hley Zimmerman

 

 

Printed name

Chief Executive Officer
Position or relationship to debtor

Ofncial Form 202 Declaration Under Penalty of Perjury for Non lndividual Debtors
01:23810628.1

Accrual Basis

Inconie

4000 '
~ Lease Usage Income
' Field Service

4700 '
4900 ~

4100
4200

Alcor Energy LLC
Prof`it & Loss
January through November 2018

Ordinary Income/Expense

Commissioning Income

Customer Owned Turbine Repair
Other Income

Total Income
Cost of Goods Sold

5000 ~
5100 '
' Field Expense (billable)

' Rebuild Turbine

' Turbine Manufacturing Expense
5700 '

5200
5400
5500

Commissioning - COGS
Operational Maintenance Expense

Customer Repairs

Total C()GS

Gross Profit

Expense
5900

7020

7170

7330

7430
7450

7 600
7630
7640
7650
7670

7710
7720

' Bad Debt
6000 '
7000 ~
~ Automobile Expense
7040 '
' Computer and Internet Expenses
7250 '
' Insui'ance Expense
7340 ‘
' Meals and Entertainment
’ l\/[iscellaneous

7490 ~
' Payroll Expenses

' Payroll Benefits

' Payroll Processing Fees
' Postage and Delivery

' Professional Fees

7700 '
~ Rent Expense

' Repairs and Maintenance
7770 ~
7790 ~
7791 -
7798 '

Sales Expense
Advertising / Promotion

Bank Service Charges
Dues and Subscriptions

Interest Expense

()ft`ice Supplies

Registration/Titles for Units

Safety Expense
Shop Supplies
Shop Uniform
Small Tools

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Jan - Nov 18

13,155.00
1,542,843.09
200,432.15
95,722.96
26,170.26

1,878,323.46

372,560.35
133,288.85
154,078.74
82,657.36
424,828.67
51,148.32

1 ,218,562.29

659,761 . 17

144,750.56
6,872.02
529.23
322.49
2,634.85
25,566.12
10,415.93
68,857.28
323,098.76
1,911.89
161.70
8,201.29
942,058.92
3i,745.15
7,352.47
300.42
607,3i4.61
1,950.00
421,410.65
ii,746.35
2,619.99
16,105.89
7,477.81
1,458.46

Page 1 of 5

 

CaS€ 18-12839-CSS DOC 1 Filed 12/19/18
Accrual Basis Alcor Energy LLC

Profit & Loss
January through November 2018

7810 ' Telephone Expense
7840 ' Travel Expense
78()0 ' Utilities
Total Expense
Net Ordinary Iucome
Other lncome/Expense
Other Income
9000 ' Gain/Loss
9200 ~ Suspense
Total Other Income
Net Other Income
Net Income

Page 17 of 64

Jan - Nov 18

16,446.86
52,592.04
37,125.22

2,751,026.96
-2,091,265.79

300,000.00
175,000.00

475,000.00
475 ,000.00
-1,616,265.79

Page 2 of 5

 

 

CaS€ 18-12839-CSS DOC l Filed 12/19/18

Accrual Basis Alcor Energy LLC
Balance Sheet
As of November 30, 2018
ASSETS
Current Assets
Checking/Savings

1000 ' Checking Alliance Bank-5733
1020 ' Field (Debit Card)-3919
1050 ' Petty Cash
Total Checking/Savings
Accounts Receivable
1200 ' Accounts Receivable
Total Accounts Receivable
Other Current Assets
1300 ~ Inventory
1320 ~ Inventory - WIP
1360 ' Prepaid Expenses
1380 ~ Security Deposit
Total Other Current Assets
Total Current Assets
Fixed Assets
1510 ' Leased Turbines
1550 ' Furniture and Equipment
1560 ' Machinery & Equipment
1580 ' Vehicles
1700 ~ Accumulated I)epreciation
1800 ‘ Intangible Assets
1810 ' Goodwill
1820 ' Transferred AR Goodwill
1870 ' Accumulated Amortization
Total Fixed Assets
T()TAL ASSETS

Page 18 of 64

Nov 30, 18

56,857.51
1,625.96
31.86

58,515.33

457,490.31

457,490.31

195,613.23
36,889.23
61,495.00
70,071.20

364.068.66
880,074.30

7,493,000.00
158,094.00
133,336.10
13,850.84
~898,273.00
150,957.00
1,935,086.00
426,067.00
-76,528.00

9,335,589.94
10,215,664.24

 

Page 3 of 5

CaS€ 18-12839-CSS DOC l Filed 12/19/18

Accrual Basis Alcor Energy LLC
Balance Sheet
As of November 30, 2018

LIABILITIES & EQUITY
Liabilities
Current Liabilities
Accounts Payable
2000 ' Accounts Payable
Total Accounts Payable
Other Current Liabilities
2500 ' Ref`undable Lease Deposit
Total Other Current Liabilities
Total Current Liabilities
Long Term Liabilities
2820 ~ Loan 1992262 Alberta Ltd.
2830 ' Loan-Barry Stonehouse
2840 ' Loan- Bruce Jorgenson
2850 ' Loan-Ocho Ventura LLC
2860 ' Loan-Ocho Ventura (acquired)
Total Long Term Liabilities
Total Liabilities
Equity
3000 ~ Equity-Alcor Energy Solutions
3100 ' Equity-Ocho Ventura, LLC
Net Income
Total Equity
T()TAL LIABILITIES & EQUITY

Page 19 of 64

Nov 30, 18

377,409.91

377,409.91

149,661.12

149,661 . 12
527,071.03

150,000.00
400,000.00
150,000.00
3,075,000.00
700,000.00

4,475,000.00

5,002,071.03

3,414,929.50
3,414,929.50
-1,616,265.79

5,213,593.21
10,215,664.24

Page 4 of 5

 

CaS€ 18-12839-CSS DOC l Filed 12/19/18

Alcor Energy LLC
Statement of Cash Flows
January through November 2018

OPERATING ACTIVITIES
Net Income
Adjustments to reconcile N et Income
to net cash provided by operations:
1200 ' Accounts Receivable
1250 ~ Due To/ From Ocho Ventura
1300 ~ Inventory
1320 ‘ Inventory - WIP
1360 ' Prepaid Expenses
1380 ~ Security Deposit
2000 ‘ Accounts Payable
2410 ~ Payroll Liabilities
2500 ' Refundable Lease Deposit
Net cash provided by Operating Activities
INVESTING ACTIVITIES
1560 ' Machinery & Equipment
1580 ' Vehicles
1810 ' Goodwill
Net cash provided by lnvesting Activities
FINANCING ACTIVITIES
2810 ' Maximilian Resources
2860 ~ Loan-Ocho Ventura (acquired)
3000 ~ Equity-Alcor Energy Solutions
3100 ~ Equity-Ocho Ventura, LLC
Net cash provided by Financing Activities
N et cash increase for period
Cash at beginning of period
Cash at end of period

Page 20 of 64

Jan - Nov 18

-1,616,265.79

-135,325.31
1,653,000.00
243,432.77
-36,889.23
-61,495.00
-70,071.20
253,607.91
-6,185.00
149_.661.12

373,470.27

-3,362.10
-13,850.84
-118,179.00

-135,391.94

-1,000,000.00
700,000.00
47,179.00
47,179.00

-205,642.00

32,436.33
26,079.00

58,515.33

 

Page 5 of 5

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Form 8879_pE |RS e-file Signature Authorization for Form 1065 q ouBNo. 1545-0123
> Return completed Form 8879-PE to your ERO. (Don't send to the |RS.)
> Go to www.irs.gov/Form8879PE for the latest information. 2@ 1 7
Deparlment of the Treasury
internal Revenue SeNiCe For calendar year 2017, oriax year beginning 6/1 , 2017, and ending 12/31 , 20 17
Name of partnership Employer identification number
ALCOR ENERGY, LLC XX-XXXXXXX
Tax Return |nformation (Whole dollars only)
1 Gross receipts or sales less returns and allowances (Form 1065, line 1c) . 1,125,977
2 Gross profit (Form 1065, line 3) . . 679,840
3 Ordinary business income (|oss) (Form 1065 line 22). -2,279,125
4 Net rental real estate income (loss) (Form 1065 Schedule K line 2). 0
5 Other net rental income (loss) (Form 1065, Schedule K, line 3c) . 0

 

 

 

Declaration and Signature Authorization of Partner or Member
(Be sure to get a copy of the partnership's return)

 

 

ve examined a copy of the
s and to the best of my

are the amounts shown on
n originator (ERO),

e om the |RS (a) an

elay in processing the return. l
c return of partnership income.

Under penalties of perjury, | declare that l am a partner or member of the above partnershig
partnership' s 2017 electronic return of partnership income and accompanying schedules an
knowledge and belief it' 1s true, correct, and complete |further declare that the amounts'
the copy of the partnership' s electronic return of partnership income. l consent to a
transmitter, or intermediate service provider to send the partnerships return to the
acknowledgement of receipt or reason for rejection of the transmission and (b) the
have selected a personal identification number (P|N) as my signature for the partn

Partner or Member's PlN: check one box only

ter my PlN XXXXX as my signature

Don't enter all zeros

1 authorize BAsc ExPERTlsE oF Az 1_Lc

ERO firm name
on the partnerships 2017 electronically filed return o

     
  
 
 
 
   

rtnership income.

[:l As a partner or member of the partnership, l Wi|l y PlN as my signature on the partnership's 2017 electronically

filed return of partnership income.

Partner or members signature >

 

 

 

 

 

 

 

 

  

Title > l\/lANAGER Date >
m Certification and Authent
ERO's EFlN/P|N. Enter your six-digit EF -digit self-selected P|N. li XXXXXXXXXXX J

 

Don't enter all zeros

   
   
 
  
 
 
 
 

y signature on the 2017 electronically filed return of partnership income for
mitting this return in accordance with the requirements of Pub. 3112, |RS
odernized e-Fi|e (|\/leF) lnformation for Authorized |RS e-fi/e Providers for

l certify that the above numeric entr
the partnership indicated above. l con
e-fi/e Application and Participation, and
Business Returns.

ERO`s signature > Date > 3/6/2018

 

 

, ERO Must Retain This Form - See |nstructions
on't Submit This Form to the |RS Unless Requested To Do So

 

For Paperwork Reduction Act Notice, see instructions Form 8879-PE (2017)
HrA

 

Case 18-12839-CSS Doc 1 Filed 12/19/18 Page 22 of 64

 

 

 

 

 

 

 

 
 

. OMB No. 1545-0123
Form 1065 U.S. Return of Partnershlp lncome
Department of the Treasury For calendar year 2017, or tax year beginning ___6_/_1_/_2_Q:|_7____ , ending ____'1_2_/_3_1_/_2_(2'_\_7____ 2© 1 7
'me"‘a‘ Re"e““e Se"”°e > Go to www.irs.gov/Form1065 for instructions and the latest information.
A Principal business activity Name of partnership D Employer identification number
MANUFACTURER ALCOR ENERGY, LLC XX-XXXXXXX
B Principal product or service Number, street, and room or suite no. lf a P.O. box, see the instructions E Date business started
T\;l:e 7754 E vELoC1TY wAY
TU RB|NES Print City or town State ZlP code 6/1/2017
C Business Code number MESA AZ 85212 F Total assets (see the
Foreign country name Foreign province/state/county Foreign posta e instructions)
333610 $ 11,640,488|
G Check applicable boxes: (1) |: lnitial return (2) m Final return (3) E Name change (4) |::| (5) |:| Amended return
(6) |: Technical termination - also check (1) or (2)
H Check accounting method: (1) |___ Cash (2) Accrua| (3) |:| Other (specify) _______________________________________

 

l Number of Schedules K-1. Attach one for each person who was a partner at any time during the tax
J Check if Schedules C and lVl-3 are attached ....................

Caution. /nclude only trade or business income and expenses on lines 1a through 22

  
 
 
 

 

1a Gross receipts or sales
b Returns and allowances.

 
  
 

 

  
 
  

_L
0-.

 

 

 

 

 

 

 

 

 

 
 
 
 
 
 
 
 

 

 

 

 

 

 

 
 

 

  

 

 

 

   

 

  
 
 
   

 

 

 

 

 

 

 

 

 

 

 

 

 

c Balance. Subtract line 1b from line 1a 1,125,977
m 2 Cost of goods sold (attach Form 1125-A). 2 446,137
§ 3 Gross profit. Subtract line 2 from line 1c . . 3 679,840
§ 4 Ordinary income (loss) from other partnerships estates, and trus 4
_ 5 Net farm profit (loss) (attach Schedule F (Form 1040)) 5
6 Net gain (loss) from Form 4797l Part ll, line 17 (attach 4797) 6
7 Other income (loss) (attach statement) . 7
8 Total income (loss). Comblne lines 3 th@gh 7 . . 8 679,840
$ 9 Salaries and wages (other than to partners) (les s) 9 596,544
§ 10 Guaranteed payments to partners . 10
§ 11 Repairs and maintenance 11 99,072
§ 12 ead debts . 12
§ 13 Rent . 13 248,977
§ 14 Taxes end licenses 14 50,719
§ 15 interest . . . . . . . . . . . . . . . v 229,646 ___
§ 16a Depreciatlon (if required, attach . . . . . . . 16a 898,273 4 ,, .
§ b Less depreciation reported on ere on return. . . 16b 16c 898,273
§ 17 Depletion (Do not deduct 01 n.) 17
53 18 Retirement plans, etc. 18
§ 19 Employee benefit p 19
8 Other deductions (a . . 20 835,734
___ hown in the far nght column for l1nes 9 through 20 21 2,958,965
22 Subtract line 21 from line 8 22 -2,279,125
~ lare _ l have examined this retum, including accompanying schedules and statements, and to the best of my

  

ny knowledge

 

rect, and complete Deolaration of preparer (other than partner or limited liability company member)' rs based on all

 

 

 

 

 

Sign
May the lRS discuss this return with

Here the preparer shown below (see

} b instructions)? Yes l:| No

Signature of partner or limited liability company member Date _" _`
. ‘, .
l Pnnt/Type prepare s name Preparers s1gnature Date Check l:| if PTlN

Pald DElRDRE l\/l l\/lORHET DElRDRE lVl lVlORHET 3/6/2018 self-emp\oyed XXXXXXXXX

 

 

 

 

Pl'epal'el' Firm's name b BASC EXPERT|SE OF AZ LLC

Firm‘s ElN * XX-XXXXXXX

 

Phone no. 480-355-1398

 

Use On|y Frrm's address b 3303 E Baseline Rd ste 107
City Gilbel"t SE{: Az

 

 

ZlP code 85234

 

For Paperwork Reduction Act Notice, see separate instructions.
HTA

Form 1065 r2017)

 

Case 18-12839-CSS Doc 1 Filed 12/19/18 Page 23 of 64

Form 1065 12017) ALCOR ENERGY, LLC XX-XXXXXXX Page 2
hedule B Other information

Sc

 

 

 

 

1 What type of entity is filing this return'? Check the applicable box:
a Domestic general partnership b l:l Domestic limited partnership
c Domestic limited liability company d |:l Domestic limited liability partnership
e [:l Foreign partnership f l:| Other >
2 /-\t any time during the tax year was any partner in the partnership a disregarded entity, a partnership (including
an entity treated as a partnership), a trust an S corporation, an estate (other than an estate of a deceased partner),
oranomineeorsimilarperson?................................... X
3 At the end of the tax year:

4 At the end of the tax year, did the partnership:

  
 
  
   
  
  
 
 
 
 
 

 

a Did any foreign or domestic corporation, partnership (including any entity treated as a partnership), tru
tax-exempt organization, or any foreign government own, directly or lndirectly, an interest of 50°
profit, loss, or capital of the partnership? For rules of constructive ownership, see instructions
Schedule B-1, information on Partners Owning 50% or l\/lore of the Partnership .

b Did any individual or estate own, directly or indirectiy, an interest of 50% or more in the
the partnership? For rules of constructive ownership, see instructions if "Yes," attach
on Partners Owning 50% or l\/lore of the Partnership .

the

 

r capital of
, information

 

 

a Own directly 20% or more, or own, directly or indirectly, 50% or more of the tot
entitled to vote of any foreign or domestic corporation? For rules of constructi
complete (i ) through (iv) below.

instructions if "Yes,"

 

 

(iil) Country of (iv) Percentage
incorporation Owned in Voting Stock

 

(i) Name of Corporation

 

 

 

 

 

 

 

 

 

 

 

 

 

b Own directly an interest of 20% or more, or own, direct 'rectly, an interest of 50% or more in the profit, loss,
or capital in any foreign or domestic partnership (incl g a treated as a partnership) or in the beneficial
interest of a trust? For rules of constructive owner see instr . if "Yes," complete (i) through (v) below .

 

 

 

 

 
 
 

) EmPlOYe" . (V) Maxim'~'m
tit”ication ("') Type °f (“') Country °f Percentage Owned in

(i) Name of Entity . .
if any) Em'ty Orgamzat|°" Profit, Loss, or Capital

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   
  
  

 

 

5 Did the partnership file Form 8893, rtnership Level Tax Treatment, or an election statement under
section 6231(a)(1)(B)(ii) for partnershi ax treatment, that is in effect for this tax year? See Form 8893 for
more details

6 Does the partnership sa following conditions'7

a The partnership s x year were less than $250 000
b The partnership ' 4 nd of the tax year were less than $1 million.

7 is this partnership a publicly traded partnership as defined in section 469(k)(2)?

 
 
    

c Schedules K-1
for the partners

d The partnership is l
if "Yes," the partnersh p
or item L on Schedule K-1.

d is not required to file Schedule i\/l- 3 . .
ot required to complete Schedules L, l\/l- 1 and lVl- 2; item F on page 1 of Form 1065;

 

 

8 During the tax year did the partnership have any debt that was cancelled was forgiven, or had the terms

modified so as to reduce the principal amount of the debt?.

 

9 Has this partnership filed, or is it required to file, Form 8918 l\/laterialAdvisor Disclosure Stateinent, to provide

10 At any time during calendar year 2017, did the partnership have an interest in or a signature or other authority over a financial

 

 

information on any reportable transaction?

account in a foreign country (such as a bank account, securities account, or other financial account)? See the instructions for
exceptions and filing requirements for FinCEN Form 114, Report of Foreign Bank and Financial Accounts (FBAR). if "Yes,"
enter the name of the foreign country. >

 

 

Form 1065 (2017)

 

Form 1065 120171
Schedule B

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ALCOR ENERGY, LLC XX-XXXXXXX

Other information (continued)

Page 3

 

 
  
  

 

  
 

 

  

 

 

 

  
 

 

 
 

 

 

 

 

 

    

 

 

 

 
  

 

 

 
  

11 /-\t any time during the tax year, did the partnership receive a distribution from, or was it the grantor of or
transferor to, a foreign trust? if "Yes, " the partnership may have to file Form 3520 Annuai Return To Report
Transactions With Foreign Trusts and Receipt of Certain Foggn Gifts. See instructions.

12a ls the partnership making, or had it previously made (and not revoked), a section 754 election? .
See instructions for details regarding a section 754 election.

b Did the partnership make for this tax year an optional basis adjustment under section 743(b) or 734(b)? if "Yes,"
attach a statement showing the computation and allocation of the basis adjustment See instructions . . . .

c ls the partnership required to adjust the basis of partnership assets under section 743(b) or 734(b) b se of a
substantial built-in loss (as defined under section 743(d)) or substantial basis reduction (as defined u section
734(d))? if "Yes," attach a statement showing the computation and allocation of the basis ad us - nstructions

13 Check this box if, during the current or prior tax year, the partnership distributed any property
like kind exchange or contributed such property to another entity (other than disregarded e
owned by the partnership throughout the tax year) . . . . > \:]

14 At any time during the tax year did the partnership distribute to any partner a tenancy r other
undivided interest in partnership property?. . . .

15 if the partnership is required to file Form 8858 information Return of U. S. Perso Foreign
Dlsregarded Entities, enter the number of Forms 8858 attached See instructi

16 Does the partnership have any foreign partners? if "Yes," enter the number reign Partner's
information Statement of Section 1446 WithholdingTax, filed for this partners 0

17 Enter the number of Forms 8865, Return of U.S. Persons With Respect rtnerships
attached to this return. > 0

18a Did you make any payments in 2017 that would require you to file

b if "Yes," did you or will you file required Form(s) 1099? . . .

19 Enter the number of Form(s) 5471, information Return of U.S. Perso ct To Certain Foreign
Corporations, attached to this return. b 0

20 Enter the number of partners that are foreign governmen ’ der section 892 > 0

21 During the partnership's tax year, did the partnership payments that would require it to file Form 1042
and 1042-8 under chapter3 (sections 1441 throu-h ter 4 (sections 1471 th@gh 1474)’? X

22 Was the partnership a specified domestic entity re 38 for the tax year (See the instructions for
Form 8938)’?. X

 

 

 

Designation of Tax Matters Partner (see instructions)
Enter below the general partner or member-manager d

  
 
  
 
 

atters partner (Tl\/lP) for the tax year of this return:

 

 

  

 
  
 
 

Name of

designated , identifying b

TiviP ALCOR ENEREGY SOL number ofTNiP XX~XXXXXXX
if the TlVlP is an

entity, name » Phone number .

of TlVlP representative BARRY C. STO of TMP

 

 

Address of
designated

Ti\/|P } 7754 E VEL

  

AZ 85207

Form 1065 (2017)

 

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FOrm1065(2017) ALCOR ENERGY, LLC

Partners' Distributive Share items

XX-XXXXXXX Page 4

Total amount

 

 
 
 

 

 

 

 

 

 

 
 

 

 

 

 

 

 

 

 

 

 

 

 

  
  
  

 

 

 

 

 

 

 

 

 
 
  
 

 

 

 

  
  
  
  

 

 

 

 

 

 

 

 

   
    

 
 

 

 

 

 

 

 

   
    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1 Ordinary business income (loss) (page 1, line 22) 1 -2,279,125
2 Net rental real estate income (loss) (attach Form 8825) . . . . 2 ___
3a Other gross rental income (loss) . . 3a
b Expenses from other rental activities (attach statement). 3b
c Other net rental income (loss) Subtract line 3b from line 3a 0
'<,T 4 Guaranteed payments .
g 5 interest income .
='a 6 Dividends: a Ordinary dividends . . . _
§ b Qualified dividends . 6b
8 7 Royalties
§ 8 Net short-term capitai gain (loss) (attach Schedule D (Form 1065)).
9a Net long-term capital gain (loss) (attach Schedule D (Form 1065))
b Collectibles(2 8%) gain (loss) .
c Unrecaptured section 1250 gain (attach statement)
10 Net section 1231 gain (loss) (attach Form 4797).
11 Other income (loss) (see instructions) Type > 11
2 12 Section 179 deduction (attach Form 4562) 12
_9 13a Contributions. . 13a 1,101
‘C>' b investment interest expense . . . . . . . 13b
§ c Section 59(e )(2 )expenditures: (1) Type > 13c(2)
0 d Other deductions (see instructions) Type > 13d
é,>‘ 14a Net earnings (loss) from self-employment . 14a -1,139,562
§§ §§ b Gross farming or fishing income 1 14b
rn uJ E c Gross nonfarm income . . . . 140 339,920
15a Low-income housing credit (section 42(1')(5))- 15a
3 b Low-income housing credit (other) . . . . . . . . . . . . . . . 15b
§ c Qua|ified rehabilitation expenditures (rental r e (attach Form 3468, if applicable) 15c
9 cl Other rental real estate credits (see instruc _________________________________ 15d
o e Other rental credits (see instructions) __________________ __ 15e
f Other credits (see instructions)
16a Name of country or U.S. possessio
m Gross income from ali sources
§
§
in
§
,:
51
`§ j General catego
no Peid |:] Accrued 161
credit (attach statement)
tach statement)
§ w b 1711
9 " E
§ § g c . 17c
§§ § d , mai properties-gross income 17d
§ § 5 e Oil, gas, and » hermal properties-deductions 17e
f Other Al\/lT items (attach statement) 17f
c 18a Tax-exempt interest income . 18a
§ b Other tax-exempt income . 18b
§ c Nondeductible expenses . 18c 8,273
5 19a Distributions of cash and marketable securities 19a
§ b Distributions of other property 19b
3 20a investment income. 20a
5 b investment expenses 20b
0 c Other items and amounts (attach statement)

 

 

 

Form 1065 1201 7;

 

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F01m1065(2017) ALCOR ENERGY, LLC XX-XXXXXXX Page 5
Analysis of Net lncome (Loss)
1 Net income (loss). Combine Schedule K lines 1 through 11. From the resu|t, subtract the sum of
Schedule K, lines 12 through 13d, and 16l . . . . 1 -2,280,226
2 Analysis by _ (ii) individual (iii) individual . . (v) Exempt (vi)
partner type: m Corporate (active) (passive) (N) Pa'mersh'p Organization Nominee/Other

b Limited artners
m Balance Sheets per Books

1

63th

7a

8
9a

10a

11
12a

13
14

15
16
17

1

19a

2
2
2

Schedule lVl-1

 

a General partners

 

 

 

 

 

 

 

-1,140,112

 

-1,140,114

 

Beginning of tax year

End of tax year

 

Assets
Cash
Trade notes and accounts receivable
Less allowance for bad debts
inventories .
U. S. government obligations
Tax-exempt securities
Other current assets (attach statement)
b l\/|ortgage and real estate loans
Other investments (attach statement)
Buildings and other depreciable assets
Less accumulated depreciation
Depletable assets
Less accumulated depletion
Land (net of any amortization)
lntangible assets (amortizable only)
Less accumulated amortization
Other assets (attach statement)
Total assets

Liabilities and Capital

Accounts payable

b

b

b

Other current liabilities (attach statement)
All nonrecourse loans .
Loans from partners (or persons related to pa ne
b l\/lortgages, notes, bonds payable 1n 1 y
0 Other liabilities (attach statement)
1 Partners' capital accounts

2 Total liabilities and capital

Reconci|iati
Note. The partner

8

Loans to partners (or persons related to partners) .

l\/lortgages notes, bonds payable 1n less than 1 y-

 

 

u1red to file Schedule lVl- 3 (see instructions).

 

 

(b) (6)

A®M

322, 165 :

      
    
   
   
 
 
 
        
 
 
 
    
    
      
 
  
  
 
 
 
 
       

7,781,1)68

  

(d)
24,879

 

    

322,165
439,046

1,200

 
 

1,891,336 '
2,079,067
11,640,488

'123,802

4,775,000

6,185
6,735,501
11,640,488

 

  
 
 
 
 
 
   

1 Net income (loss) per books
lncome included on Sc
5,,,,,,6a789a10and
books this year (it
Guaranteed pay
insurance)

Expenses reco
included on Sche-
13d, and 161 (itemize).
a Depreciation $ ______________________________
b Travel and entertainment $ 8,2?§_

-2,288,499

6 income recorded on books this year not included

 

on Schedule K, lines 1 through 11 (itemize);
Tax-exempt interest $

 

Deductions included on Schedule K, lines 1
through 13d, and 16|, not charged

 

8, 273

against book income this year (itemize);
Depreciation $ ________________________

Add lines 6 and 7 .
lncome (loss) (Analysis of Net income

 

5 Add lines 1 through 4 ________

-2, 280, 226

(Loss), line 1). Subtract line 8 from line 5

 

 

-2,280,226

 

Analvsis of Partners' Capital Accounts

 

1 Balance at beginning of year

2 Capital contributed: a Cash .
b Property
Net income (loss) per books
Other increases (itemize);
Add lines 1 through 4

hud

Distributions: a Cash

 

4,512,000

b Property

 

4,512,000

Other decreases (itemize);

 

-2,288,499

 

O

Add lines 6 and 7

 

6,735,501

 

Ba_lance at end of year Subtract line 8 from line 5

 

 

 

_____O.
6,735,501

 

 

Form 1065 (2017)

 

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Form 1125-A Cost of Goods Sold

(Rev. October 2016) OMB No. 1545-0123

Department of the Treasury

1niema1Revenue service > information about Form 1125-A and its instructions is at www.irs.gov/form1125a.

 

> Attach to Form 1120, 1120-C, 1120-F, 11208, 1065, 0r1065-B.

 

 

 

 

 

 

 

 

  
 
   

 

 
  
     
 

 

 

Name Employer identification number
ALCOR ENERGY, LLC XX-XXXXXXX
1lnventoryatbeginningofyear.............................1
2Purchases.....................................2 885,183
SCostoflabor..... 3
4 Additional section 263A costs (attach schedule).
5 Othercosts(attach schedu|e). . . . . . . . . . . . . . ...... ____
6 Total. Add lines 1 through 5 . 885,183____
7 inventory atend ofyear. . . . . ..... . 439,046__
8 Cost of goods sold. Subtractline7fromline6. Enter here and on Form 1120, page1, line2
or the appropriate line of your tax return. See instructions . . 446,137
9 Check all methods used for valuing closing inventory:

e lf property is produced or acquired for resale, do the rules of section 2

 
 
 
 
    
  
 
  
 
  

(i) Cost

(ii) \:| Lower of cost or market
(iii) |:| Other (Specify method used and attach explanation.) b
Check if there Was a writedown of subnormal goods . . ......

m970)........ >I:l
. l ed l l
ity? See instructions . , |:} Yes |:| No

closing inventory? lf
.|:] Yes |:| No

Check if the l_lFO inventory method Was adopted this tax year for any goods (if ch
lf the LlFO inventory method Was used for this tax year, enter amount of
computedunderLlFO. . . . . . . . . . . . .. .....

Was there any change in determining quantities, cost, or valuations be .
"Yes," attach explanation . .

 

 

 

For Paperwork Reduction Act Notice, see instructions. Form 1125-A (Rev. 10-2016)

HTA

 

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E°‘Fi';':'zg'é§) 5'1 information on Partners Owning 50% or

(Rev. September2017) MO rs Aottf trl:`teFPa:'E;:-,ersh ip OMB N°' 1545'0123
Dn lfthT ac oorm .

ln?§r?iarlnl'\e’;v;nueeSer:/?::ry > Go to www.irs.gov/Form1065 for the latest information.

Name of partnership Employer identification number (ElN)
ALCOR ENERGY, LLC XX-XXXXXXX

 

 

m Entities Owning 50% or More of the Partnership (Form 1065, Schedule B, Question 3a)

Complete columns (i) through (v) below for any foreign or domestic corporation, partnership (including any entity treated as a
partnership), trust, tax-exempt organization, or any foreign government that owns, directly or indirectly, an erest of 50% or more in
the profit, lossl or capital of the partnership (see instructions).

 

   

 

 

 

 

 

(ii) Employer (v) Maximum
(i) Name of Entity identification Number (iii) Type of Entity Co _ v Pienr;::;:g:°:;/';erd
(if any) Ca’pital l
ALCOR ENEREGY SOLUTlONS LLC XX-XXXXXXX Partnersl'iip nite tes 50.000%
OCHO VENTURA, LLC XX-XXXXXXX Partnership U ates 50.000%

 

 

 

 

 

 

 

 

 

 

 

 

  
    
 
 
 
  

 

individuals or Estates owning 50% o the Partnership (Form 1065, scheduie B, ouestion 3b)

 

 

Compiete columns (i) through (iv) below for any individ ns, directly or indirectlyl an interest of 50% or more

in the profit, loss, or capital of the partnership (see inst

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(iv) Maximum
_ 1 _ . Percentage Owned in
(i) Name of individual or Estate (iii) Country of Citizenship (see instructions) profit Loss’
or Capital
For Paperwork Reduction Act Notice, see the instructions for Form 1065. Schedule B-1 (Form 1065) (Rev. 9-2017)

HTA

 

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SCHEDU'-E C Additiona| information for Schedule M-3 Fiiers

(Form 1065) 011/113 Ne.154s-r)123
lise;;r?n:;:;nol;€;;§gtr:iaswy * Attach to Form 1065. See separate instructions

imemar Revenue service * information about Schedule C (Form 1065) and its instructions is at www.irs.gov/form1065.

Name of partnership Employer identification number

ALCOR ENERGY, LLC XX-XXXXXXX

 

1 At any time during the tax year, were there any transfers between the partnership and its partners subject to the
disclosure requirements of Reguiations section 1.707-8? .

  
 
 
 
  
  
  
    
 
   

2 Does any amount reported on Schedule l\/l-3, Part ii, lines 7 or 8, column (d), reflect allocations tot '
from another partnership of income, gain, loss, deduction, or credit that are disproportionate to this p
share of capital in that partnership or its ratio for sharing other items of that partnership? .

a related person as defined in sections 267(b) and 707(b)(1)? .

4 At any time during the tax year, did the partnership acquire any interest in an intangib a related
person as defined iri sections 267(b) and 707(b)(1)? .

5 At any time during the tax year, did the partnership make any change in acco
accounting purposes? See instructions for a definition of change in accounti

6 At any time during the tax year, did the partnership make any change i
taxpurposes?. . . . . . . . . . ..

ing for U.S. income

 

For Paperwork Reduction Act Notice, see the instructions for Form 1065.
1-11A

Schedule C (Form 1065) (Rev. 12-2014)

 

CaS€ 18-12839-CSS DOC 1

Schedule K-1
(Form 1065)

Z®17

Filed 12/19/18 Page 30 of 64

i=rE]r]r]r?

OMB No. 1545-0123

l:| Finei k-1

\___| Amended K-1

   
   

.~.\/s~f

 

 

 

 

 

 

 

 

 

 

   

 

 

 
   
 
   

 

 

 

 
  
  

 

 

 

 

 

 

  

    
   
     
 
  
        

 

 

 

 

 

 

 

 

 

    
 
  

 

 

 

  
 

 

 

 

 

 

 

 

 

 

  
 

Department of the Treasury 1 Ordinary business income (loss) 15 Credits
internal Revenue Service For calendar year 2017l or tax year _1 1139'562
beginning ending l 12/31/2017 l 2 Net rental real estate income (loss)
Partner's Share of income, Deductions, _ _ v
Credits, etc- b See back of form and Separate instructions 3 Other net rental income (loss) 16 Foreign transactions
Guarariteed payments
A Partnership's employer identification number
XX-XXXXXXX 5 interest income
B Partnership's name, address, city, state, and ZlP code
6a Ordinary dividends
ALCOR ENERGY, LLC
7754 E VELOClTY WAY 6b Qualified dividends
l\/iESA, AZ 85212
C |RS Center where partnership filed return 7 Royaities
e-fiie
D l:] Check if this is a publicly traded partnership (PTP) 9 Net Sho\'i
f 17 Aiternative minimum tax (AMT) items
Partner's identifying number Partner; 1
XX-XXXXXXX
F Partner's name, address, city, state, and ZlP code
ALCOR ENEREGY SOLUT|ONS LLC
7754 E VELOClTY WAY
CHANDLER, AZ 85207 10 Net section 1231 gain (loss) 18 Tax-exempt income and
nondeductible expenses
G General partner or LLC [:| Limited partner o Other income (|OSS) C 4,136
member-manager member
H Domestic partner t::] Foreign partne
l1 What type of entity is this partner? LLC - Pal'ii't =
i2 if this partner is a retirement plan (|RA/SEP/Keogh/ 19 Distributions
J Partners share of profit, loss, and capital (see ins 12 S€CtiOn 179 deduction
Beginning
Prorir 50.000000% 30000% 13 Other deductions
i_oss 50.000000 00000% A 550 20 Other information
Capiial 50.00000 0.000000%
K Partner‘s share cf liabilities at year end:
Nonrecourse . 3,092
Qualified nonrecourse financing . 14 Self-employment earnings (loss)
Recourse. 2,449,401 A -1,139,562
L Partner's capital a C 339,920
Begirining capitei a $ *See attached statement for additional information.
capital contributed d $ 4,512,000
Current year increase (dec . . $ -1,144,248
VWthdrawa|s & distributions ..... $ _z.
Ending capital account ...... $ 3,367,752 5
33
I:] Tex beers [:i GAAP I:i section 704(1>) book 3
|::l Other (expiain) §
‘5
M Did the partner contribute property with a built-in gain or loss'? u`
Yes No
lt "Yes," attach statement (see instructions)

 

 

 

 

For Paperwork Reduction Act Notice, see instructions for Form 1065.
HTA

www.irs.govlForm1065

Schedule K-1 (Form 1065) 2017

 

CaS€ 18-12839-CSS DOC l Filed 12/19/18

ALCOR ENEREGY soLuTloNs LLC
K-1 Statement (Sch K-1, Form 1065)

Line 13 - Deductions
A Code A - Cash contributions (50%)

Line 14 - Self-Employment
A Code A - Net earnings (loss) from self-employment .
C Code C - Gross non-farm income

Line 18 - Tax-Exempt lncome and Nondeductible Expenses
C Code C - Nondeductible expenses .

Page 31 of 64

XX-XXXXXXX

   

550

-1,139,562
339,920

4,136

 

 

 

CaS€ 18-12839-CSS DOC 1

Schedule K-1
(Form 1065)

Department of the Treasury

internal Revenue Service For calendar year 2017, or tax year

 

 

Filed 12/19/18 Page 32 of 64

i=ELLL?

|:| Final K-1 |:| Amended K-i OMB No. 1545-0123

    
   

Credits

 

Ordinary business income (loss)

-1,139,563

 

beginning 06/01 /2017 ending l 12/31/2017 l

Partner's Share of income, Deductions,
Credits, etc. >

 

A Partnership's employer ident cation number

XX-XXXXXXX

2 Net rental real estate income (loss)

 

See back of form and separate instructions.

3 Othernet rental income (loss) 16 Foreign transactions

 

Guaranteed payments

 

 

B Partnership's name, address, city, state, and ZlP code

ALCOR ENERGY, LLC
7754 E VELOClTY WAY
l\/iESA, AZ 85212

5 interest income

 

  
 
 

6a Ordinary dividends

 

 

6b Qua|ified dividends

 
 

 

C |RS Center where partnership filed return
e-fiie

 
   
 

7 Royaities

 

D E Check if this is a publicly traded partnership (PTP)

    
 

Part il t

Partners identifying number

XX-XXXXXXX

Partner: 2

 

 
    

 

F Partners name, address, city, state, and Z|P code
OCHC VENTURA, LLC

31 WiNDi\/iiLL WAY

CALGARY

Canada

 
 
   

17 Aiternative minimum tax (AMT) items

 

 

ron 1250 gain

 

 

10 Net section 1231 gain (loss) 18 Tax-exempt income and

nondeductible expenses

 

 

|:| Limited partnero
member

G GeneraipartnerorLi_C

member-manager

H Domesticpartner

i1 What type of entity is this partner'?

i2 if this partner is a retirement plan (iRA/SEP/Keogh/

J Partners share of profit, loss, and capital (see ins

Beginning
50.000000%
50.000000'

  
    

OOOO%
OOOOO%

Profit
Loss

     

 
    
  

Other income (loss)

C 4,137

 

 

 

 
 

 

19 Distributions

 

 
 

12 Section 179 deduction

 

 

13 Otherdeductions
A 551 20

 

Other information

 

     

Capita| 50.00000 0.000000%

   
 
  
 

K Partner's share of liabilities at year end:

3,093

Nonrecourse ......

 

 

 
   

Qualified nonrecourse financing .

14 Seii'-emp|oyment earnings (loss)

 

 
 
  
 

 

 

 

 

 

*See attached statement for additional information.

 

 

 
 

 

Recourse ..... 2,449,401
L Partners capital ac

Beginning capital a v $

Capita| contributed d , $ 4,5'12,000

Current year increase (decr $ -1,144,25‘|

Withdrawa|s &distributions. . $ t i

Ending capital account . . ..... $ 3,367,749

 

[:| Tax basis I:| GAAP l___:| Section 704(b)book
g Other(expiain)

M Did the partner contribute property with a built-in gain or ioss?

Yes No

if "Yes," attach statement (see instructions)

 

 

For |RS Use On|y

 

 

For Paperwork Reduction Act Notice, see instructions for Form 1065.
HTA

www.irs.gov/Formt 065

Schedule K-1 (Form 1065) 2017

 

Case 18-12839-CSS DOC 1 ` Filed 12/19/18 Page 33 of 64

ooHo vENTuRA, LLC xx-)<xxx)<)<x
K-1 Statement (Sch K-1, Form 1065)

Line 13 - Deductions
ACodeA-Cashcontributions(50%).............................A 551

 

Line 18 - Tax-Exempt income and Nondeductible Expenses
C CodeC-Nondeductibieexpenses. . . . . . . . . . . . . . . . . . . . . . . . . . . . . .C 4,137

 

 

 

Case 18-12839-CSS Doc 1 Filed 12/19/18 Page 34 of 64

 

SCHEDU'-E 'V"~” Net income (Loss) Reconciiiation OMBN°~iS“S'°U

(Form 1065)

Department of the Treasury

for Certain Partnerships z@,l 7

> Attach to Form 1065 or Form 1065-B.

 

 

 

iniemai Revenue service * Go to www.irs.gov/Form1065 for instructions and the latest information.
Name of partnership Employer identification number
ALCOR ENERG¥, LLC XX-XXXXXXX

 

 

This Schedule M-3 is being filed because (check all that apply):

    
 

 

A The amount of the partnership's total assets at the end of the tax year is equal to $10 million or more.

B The amount of the partnership's adjusted total assets for the tax year is equal to $10 million or mor-. if box B is checked,
enter the amount of adjusted total assets for the tax year 13,928,987 .

C [:| The amount of total receipts for the tax year is equal to $35 million or more. if box C is checked, e the total
receipts for the tax year

D I:| An entity that' is a reportable entity partner with respect to the partnership owns or is dee ' terest of 50
percent or more in the partnership' s capital, profit or loss, on any day during the tax ea he

 

 

 

Name of Reportable Entity Partner identifying Nu Maximum Percentage Owned or
Deemed Owned

 

 

 

 

 

 

 

 

E l:[ Voluntary Filer.

Financial information and Net income (Lossl Reconciiiati

 

 

  
 
 
  
  
  

 
 

 

 

 

 

  

 

 
 
 
  
   
 

 

 

 

   

 

 
 

 

 

 

 

 

  

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1a Qi_d the partnership file SEC Form 10-K for its income statement period ending or withi s tax year?
___ Yes. Skip lines 1b and 1c and complete lines 2 through 11 with res th 10-K.
___ No. Go to line 1b. See instructions if multiple non-tax-basis inco ents ar epared.
b _Q_id the partnership prepare a certified audited non-tax-basis income at period’?
Yes. Skip line 1c and complete lines 2 through 11 with respectt tement
__ No. Go to line 1c.
c ibid the partnership prepare a non-tax-basis income state or that perio
__ Yes. Compiete lines 2 through 11 with respect to that e statement
__ No. Skip lines 2 through 3b and enter the partner ome (loss) per its books and records on line 4a.
2 Enter the income statement period: Beginning Ending
3a Has the partnership s income statement been rest atement period on line 2'7
_ Yes (if "Yes " attach a statement and the amoun item restated )
_ No.
b Has the partnership s income statement b he five income statement periods immediately preceding the
Eriod on line 2? v
Yes. (lf "Yes," attach a statement ~ t ch item restated.)
__ No.
4a Worldwide consolidated net inc ' e statement source identified in Part l, line 1 . . . . 4a ( 2,288,49§1
b indicate accounting standard use structions)
1 :l GAAP 2 - 3 [:] section 704(b)
4 :] Tax~basis Specify) >
5a Net income from noninc ies (attach statement). . . . . . . . . . 5a ( )
b Net loss from nonin l ` s(attach statement and enter as a positive amount). . . . . . 5b
6a ies (attach statement). . . . . . . . . . . . . 6a ( l
b es (attach statement and enter as a positive amount) . . . . . . 6b
7a disregarded entities (attach statement) . . . . . . . . . . . . . . 7a
b disregarded entities (attach statement). . . . . . . . . . 7b
8 Adjustment to eiimi ransactions between includible entities and nonincludible entities
(attach statement). . 8
9 Adjustment to reconcile income statement period to tax year (attach statement) 9
10 Other adjustments to reconcile to amount on line 11 (attach statement). . . . . . . . . . 10
11 Net income (loss) per income statement of the partnership. Combine lines 4a through 10. . . . . . 11 ( 2,288,49&
Note: Part l, line 11 must equal Part ll line 26, column (a) or Schedule iVl- 1 line 1 (see instructions).
12 Enter the total amount (not just the partnerships share) of the assets and liabilities of all entities included or removed on the following lines:
Total Assets Total Liabilities
a included on Part l, line 4
b Removed on Part l, line 5
c Removed on Part l, line 6
d included on Part l, line 7
For Paperwork Reduction Act Notice, see the instructions for your return. schedule M-3 (Form 1065) 2017

HTA

 

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Schedule Nl-3 (Form 1065) 2017
Name of partnership

ALCOR ENERGY, LLC

Return

 

Page 2
Employer identification number

XX-XXXXXXX

Reconciiiation of Net income (Loss) per income Statement of Partnership With income (Loss) per

 

income (Loss) items

Attach statements for lines 1 through 10.

  
 
 
 
  
  
 
 
  

1 income (loss) from equity method foreign corporations .
2 Gross foreign dividends not previously taxed .
3 Subpart F, QEF, and similar income inciusions .
4 Gross foreign distributions previously taxed .
5 income (loss) from equity method U.S. corporations .
6 U. S. dividends. . .
7 income (loss) from U. S. partnerships .
8 income (loss) from foreign partnerships .
9 income (loss) from other pass-through entities .
10 items relating to reportable transactions .
11 interest income (see instructions) .
12 Total accrual to cash adjustment .
13 Hedging transactions . .
14 l\/lark-to-market income (loss) .
15 Cost of goods sold (see instructions) .
16 Saie versus lease (for sellers and/or iessors) .
17 Section 481(a) adjustments.
18 Unearned/deferred revenue.
19 income recognition from long-term contracts.
20 Original' issue discount and other imputed interest .
21a income statement gain/loss on sale, exchange,
abandonment worthlessness, or other disposition of
assets other than inventory and pass-through entitl
b Gross capital gains from Schedule D, excluding
amounts from pass-through entities .
c Gross capital losses from Schedule D, exclu
amounts from pass-through entities, aba _.
losses, and worthless stock losses .
d Net gain/loss reported on Form 479
excluding amounts from pass-thro
abandonment losses, and wort
e Abandonment losses,
f Worthless stock losses (attach state . .
g Other gain/loss on dispo 'tion of assets han inventory
22 Other income (loss) lte ` (attach statement)
23 Total income (loss) s 1 through
22 . . . . . . .
24 Total expense m Part lil,
line 31) (see in
25 Other items with . . . . . . . . .
26 Reconciiiation to e lines 23 through 25 .

  

ial
income (Loss) per
income Statement

ibi
Temporary
Difference

(<>)
Permanent
Difference

(d)
income (Loss) per
Tax Return

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Note: Line 26, column (a), must equal Part l, line 11, and column (d) must equal Form 1065, Anaiysis of Net income (Loss), line 1.

 

Schedule M-3 (Form 1065) 2017

 

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Schedule l\/l-3 (Form 1065) 2017
Name of partnership

ALCOR ENERGY, LLC

Return-ExpenselDeduction items

 

Page 3

Employer identification number

XX-XXXXXXX
Reconciiiation of Net income (Loss) per income Statement of Partnership With income (Loss) per

 

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10

12
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22
23a

24
25
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27
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29
30

31

ExpenselDeduction items

State and local current income tax expense .

State and local deferred income tax expense .
Foreign current income tax expense (other than
foreign withholding taxes) .

Foreign deferred income tax expense .
Equity-based compensation .

l\/leals and entertainment .

Fines and penalties.

Judgments, damages, awards and similar costs.
Guaranteed payments .

Pension and profit-sharing .

Other post-retirement benefits .

Deferred compensation.

Charitable contribution of cash and tangible
property

Charitable contribution of intangible property.
Organlzational expenses as per Regulations
section 1. 709- -2(a ).

Syndlcation expenses as per Regulations

section 1. 709-2(b)

Current year acquisitlon/reorganization investment
banking fees

Current year acquisition/reorganization legal and
accounting fees.
Amortization/impairment of goodwill
Amortization of acquisition, reorganization,
start-up costs.

Other amortization or impairment write-
Reserved. . .
Depletion-Oii & Gas.
Depletion--Other than Oll & Gas
intangible drilling & developm '
Depreciation.

Bad debt expense
interest expense (see structlons). .
Purchase versus lea d/or
lessees) . '
Research and

 

 
  
  
 
 
  
   
  
 

__ ms. Comblne lines 1
ri Part |l, line 24,
as negative and negative

Total expens t
through 30. En
reporting positive am
amounts as positive .

ial
Expense per
income Statement

ibi
Temporary
Difference

(C)

Permanent
Difference

idl
Deduction per
Tax Return

 

 

 

 

 

 

 

 

 
 

 

 

 
 

 

 

 

 

 

 
 

 

 

 

 

 

 
 

 

 
 

 

 

 
 
 

 

 

 
 

 

 

 

 
 

 

 
 

 

 
 

 

 

  
 
 

 

 

 

 

 

 

 

 

 

 

 

 

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Schedule M-3 (Form 1065) 2017

 

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Depreciation and Amortization

 

OMB NO. 1545-0172

 

 

 

 

 

 

 

 

 

Form
4562 (including information on Listed Property) @®1 7
Depanment urine Treasury b Attach to your tax return. Attacnment
‘"‘ema‘ Re"e“ue Service (99) > Go to www.ir§Lov/Form4562 for instructions and the latest information. sequence No. 179
Name(s) shown on return Business or activity to which this form relates identifying number
ALCOR ENERGY, LLC 1065 - MANUFACTURER XX-XXXXXXX
Election To Expense Certain Property Under Section 179
Note: if you have any listed property, complete Part V before you complete Part l.
1 l\/laximum amount (see instructions) 1 510,000
2 Total cost of section 179 property placed in service (see instructions). . . 2 7,781,068
3 Threshold cost of section 179 property before reduction in limitation (see instructions) . 3 2,030,000
4 Reduction` in limitation. Subtract line 3 from line 2 if zero or less, enter -0- . . 4 5,751,068
5 Dollar limitation for tax year. Subtract line 4 from line 1. if zero or less, enter -0-. if married filing
5 0

 

 

 

 

 

separately, see instructions

 

 

 

 

 

 

 

 

 

 

 

 
   

 

 

 

 

6 (a) Description of property (b) Cost (business use onl (c) Elected cost
7 Listed property Enter the amount from line 29 . . . . . . . 7

8 Total elected cost of section 179 property. Add amounts in columnc (c ), lines 6 and

9 Tentative deduction. Enter the smaller of line 5 or line 8 . .

10 Carryover of disallowed deduction from line 13 of your 2016 Form 4562. . . . . .

11 Business income limitation. Enter the smaller of business income (not less than ze instructions) .

  

 

 

 

12 Section 179 expense deduction. Add lines 9 and 10, but don't enter more
13 Carryover of disallowed deduction to 2018. Add lines 9 and 10, less line `
Note: Don't use Part ll or Part lli below for listed property. lnstead, use Part

Special Depreciation Allowance and Other Depreci

 
  
 

 

` structions.)

 

 

 
 
 

during the tax year (see instructions) . .
15 Property subject to section 168(f)(1) election .

14
15
16

 

 

 

16 Other depreciation (including ACRS).

 

 

 
 

MACRS Depreciation (Don't include list ' . See instructions).

 

 
  

17 l\/lACRS deductions for assets placed in service in tax ' ` ore 2017 .
18 if you are electing to group any assets placed in tax year into one or more general

asset accounts, check here

 

 

 

 

 

 

 
 
  

 

 

 

 

 

 

 

 

 

   

 

 

 

 

   

 

 

 

 

 

 

 

 
 

 

  
   

 

   

 

 

 

     

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Section B - Assets P|aced \ ' 2017 `i'ax Year Using the Genera| Depreciation System
ial Clessification of Property (d) ::r‘i:§§ery (e) convention (f) Method (g) Depreciation deduction
see instructions)
19 a 3-year property
b 5-year property
c 7-year property 285,568 7 HY 200DB 23,795
d
e
f 20-year property
g 25-year property 25 yrs. S/L
h Residential ren 27.5 yrs. lVll\/l S/L
property 27.5 yrs. l\/ll\/l S/L
l Nonresidential r 39 yrs. l\/ll\/l S/L
ooroert l\/ll\/l S/L
Section ed in Service Duriig_2017 Tax Year Using the Alternative Depreciation System
20 a Class life S/L
b 12-year 12 yrs. S/L
c40-year 40 yrs. l\/li\/i S/L
m Summary( (See instructions )
21 Listed property Enter amount from line 28 . . . . . . . . . . 21 874,478
22 Total. Add amounts from line 12, lines 14through 17, lines 19 and 20 in column (g ), and line 21. Enter
here and on the appropriate lines of your return. Partnerships and S corporations-see instructions . 22 898,273

 

 

23 For assets shown above and placed in service during the current year, enter the
portion ofthe basis attributableto section 263Acosts . . . . . . . . . . . . . . . . . 23

 

 

 

 

For Paperwork Reduction Act Notice, see separate instructions
HTA

Form 4562 (2017)

 

Case 18-12839-CSS Doc 1 Filed 12/19/18 Page 38 of 64

Form 4562 2017) ALCOR ENERGY, LLC XX-XXXXXXX Page 2
m Listed Property (lnclude automobiles, certain other vehicles, certain aircraft, certain computers, and property

used for entertainment, recreation, or amusement.)
Note: For any vehicle for which you are using the standard mileage rate or deducting lease expense, complete only 24a,
24b, columns (a) through (c) of Section A, all of Section B, and Section C if applicable

Section A-Depreciation and Other information (Caution: See the instructions for limits for passeUer automobiles.)

24a Do you have evidence to support the business/investment use claimed? |:]Yes i:| No 24b if "Yes," is the evidence written? |:]Yes \:lNo

 

 

 

 

 

 

 

 

 

 

(a) (b) Bus(icr:i)ess/ (d) Basis for (c‘i:)ipreciation m (g) (h) m
Type of property Date placed investment use Cost or other basis (busjness/ investmem Recovery lVlethod/ Depreciation E|ected section 179
(list vehicles first) in service Pe'°e""age use °l"iy) period Convent' deduction
25 Special depreciation allowance for qualified listed property placed in service during
the tax year and used more than 50% in a qualified business use (see instructions) . . . . . . 2

 

 

26 Property used more than 50% in a qualified business use:
%
%
See statement %
27 Property used 50% or less in a qualified business use:
%
%
%
28 Add amounts iri column (h), lines 25 through 27. Enter here and on line 21, pag l 28

29 Add amounts in column (i), line 26. Enter here and on line 7, page 1
Section B-lnformation o

 

 

 

 

 

 

874,478

 

 

 

 

 

 

 

 

 

  
  
  
 

 

 

 

 

 

 

 

 

or related person. if you provided vehicles
' g this section for those vehicles.

tdi tel (fl
Vehicie ` Vehicie 4 Vehicie 5 Vehicie 6

 

 
 
 
 
 
 
 
 
 
 
 
 
  
  
 
  
   
  

30 Total business/investment miles driven during Veh""'e1
the year (don't include commuting miles) .

31 Total commuting miles driven during the year .

32 Total other personal (noncommuting)
miles driven . .

33 Total miles driven during the year. Add
lines 30 through 32

34 Was the vehicle available for personal use
during off- -duty hours? . .

35 Was the vehicle used primarily by a more
5% owner or related person? .

36 is another vehicle available for personal

 

 

 

 

es No Yes No Yes No Yes No Yes No

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Answer these questions to determine if y tion to completing Section B for vehicles used by employees who aren't
more than 5% owners or related persons (se
37 Do you maintain a written po' bits all personal use of vehicles, including commuting, by Yes No
youremployees?.
38 Do you maintain a writt 1 prohibits personal use of vehicles, except commuting, by your
employees'> See th s used by corporate off cers directors or 1% or more owners

 

39 Do you treat ali us
40 Do you provide m

ployees as personal use? . .
s to your employees obtain information from your employees about the
use of the vehicles, ormation received? . . . . . . . . . . .
41 Do you meet the require ncerning qualified automobile demonstration use? (See instructions )
Note: if your answer to 37, 38, 39, 40, or 41 is "Yes," don't complete Section B for the covered vehicles.
Part V| Amortization

 

 

 

 

 

(al (b) ici (d) tel (f)
~ - . . . , Amortization j j ,
Description of costs Date amortization Amoitizable amount Code section period or Amortization for this year
begins percentage

 

42 Amortization of costs that begins during your 2017 tax year (see instructions):

 

 

 

 

 

 

 

 

 

CLASS Vi lNTANGlBLES 6/1/2017 150,957 197 15 5,871
GOODVVlLL 6/1/2017 1,816,907 197 15 70,657
43 Amortization ofcoststhatbegan beforeyour2017taxyear . . . . . . . . . . . . . . . . . . 43

44 Total Add amounts in column (f) Seethe instructionsforwhereto report . . l . . . . . . . . . . . . 44 76,528

 

 

Form 4562 (2017)

 

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ALCOR ENERGY, LLC XX-XXXXXXX
The following questions should be answered in the context of the FEDERAL return being electronically filed.

Responses for state efiles are below.

Form family applicability

 

 

 

 

 

 

 

 

Check ("x") this column to see more information, when available. 1065 1120/F 11208 1041
-Name oreigning officer er fiduciary . .BARRY sToNEHousE
SSN/ElN ofsigningofficerorfiduciary. . . . . . . . . . . . . XXX-XX-XXXX Y Y Y Y

 

|f a financial institution is the fiduciary then the financial institution’s name should be entered.

    
      
 

 

 

 

\:]Total income from Prior Year return .

|:iEnter total number of K-1's .

 

j:]lf claiming deduction for Salary & Wages on current year return, mark this box
and enter the number of W2's reported to SSA for this tax year.

Elf claiming Compensation of Officers on current year return, mark this box
and enter the number of officers .

\:l Parent Company Name .
Parent Company ElN .

 

 

|:|Business's Primary Physical Address:
Street
Line 2
City
Country Province

 

 
 
   
 
    
  
  
  
  
  
  

 

Zip
Postal Code

 

\:|Grantor Name .
Grantor SSN .

indicate which, if an , of the following fo
720 [:]990 1042

j:[940 |:Io4t l___\943 139

 

to file.

 

 

 

 

 

Were estimated tax payments _ , wards the current tax year's liability?
Yes [:i No
Note For EFTPS Confirmation Numbe ethan 15 digits, enter the first 15 digits

ivietnod Diree ' ` cheek EFTPS

Last 4 digits ofac v . umber for Direct Debit/ACH or EFTPS payment .
EFTPS Confirmation Number. . . . . . .
Note: For EFTPS Confirmation Number, if more than 15 digits, enter the first 15 digits.
Last Payment, regardless of quarter or date paid.
Do NOT use if only one estimated payment was made.
l\/lethod Direct Debit/ACH Cash Check EFTPS

Amount of last payment

Date payment was requested to be debited. .
For Cash payments, date cash was depositedl For Check payments, date on check.

Last 4 digits of account number for Direct Debit/ACH or EFTPS payment .
EFTPS Confirmation Number.

__ ___

 

Line 15 (1065) - interest Expense

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1 lNTEREST EXPENSE 1 229,646
2 Totalinterestexpense. . 2 229,646
Line 20 (1065) - Other Deductions
1 Travel, l\/lea|s and Entertainment
aTravel.................. 85,311
b l\/leals and entertainment, subjectto 50% limit . .
d Less disallowed . . . . . .
e Subtractlinedfromlinesbandc . 8,272
2 From Form 4562-Amortizati0n . 76,528
3 ADVERT|S|NG 509
4 COl\/lPUTERANDlNTERNET 4,216
5 WFlELD EXPENSE 113,409
6 EQUlPl\/|ENTLEASE 3,472
7 lTSUPPORT 1,414
8 AUTO EXPENSE 3,815
9 BANKFEES 1,564
10 DUES AND SUBSCR|PT|ONS 5,457
11 flle EXTlNGUlSHER |\/lA|NTENANCE 817
12 UT|LITlES 24,332
13 lNSURANCE 77,710
14 LANDSCAPE I\/|AlNTENANCE 4,200
15 OFFlCE SUPPL|ES 7,931
16 OTHER TAXES 2,037
17 TELEPHONE 18,720
18 PAYROLL FEES 2,718
19 l\/|lSC RE|l\/lBURSEl\/lENT 300
20 POSTAGE AND DEL|VERY 1,437
21 PROFESS|ONAL FEES 343,547
22 SHOP EXPENSE 19,684
23 TRADE SHOW FEES 5,273
24 EXPENSES iNCURRED BEFORE BUS|NESS S 23,061
25 Totalotherdeductions . 835,734
Line 13a, Sch K (1065) -.Co
A CodeA~Cash contributions (50%) . A 1,101
Total contributions . . 13a 1,101
ent Assets
Beginning Ending
1 1,200
2 1,200
Line 13, Sch L (1065) - Other Assets
Beginning Ending
1 DUE FROl\/| OCHOAVENTURA 1 1,653,000
2 TRANSFERRED RECE|VABLE GOODW|LL 2 426,067
3 Totalotherassets . . . . . . . . . . . . . . . . . . . . . . . . . . . 3 2,079,067
Line 20, Sch L (1065) - Other Liabilities
Beginning Ending
1 PAYROLL LlABlLlTlES 1 6,185
2 Totalotherliabilities . . . . . . . . . . . . . . . . . . . . . . . . . . .2 6,185

 

 

 

 

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2 Ce.~o So_~o e >I moee~ m og_o~o e o o nx.g.eee B-n_ EoNEe ge-e_‘ zw_o.r<w-egee
1 ~ee_e¢ see.ee o >_._ ooeo~ o oeo_eoe o e o .x_g.eg e_‘-n_ eeo~\:e go-ev zw_o._.<w-¢goe
w Be_ev >ee_ee e >I mog~ o eee_ee¢ e e e eee,eev $oe.ge o_‘.n_ eeo~\:e eg-e_\ zmo._,<m-wege
n >ee.ev eeo~ev e >I moog o eee.oov e o o oee.ee¢ oeoe.eoe oTn_ bowie o._zo eg:e¢:eeee
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Case 18

 

 

 

 

  

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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o._._ t>@mmzm moo,_<

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Elections

Election to NOT claim first-year special depreciation - 3 Year Property
Pursuant to |RC Section 168(k)(2)(D)(iii), the Taxpayer elects out of first-year special depreciation for all
3-Year depreciable property placed in service during the current tax year.

E|ection to NOT claim first-year special depreciation - 5 Year Property
Pursuant to |RC Section 168(k)(2)(D)(iii), the Taxpayer elects out of first-year special depreciation for all
5-Year depreciable property placed in service during the current tax year.

 
 
 
 
 
 
 
 
 
 
 
 
  
 
  
   
  
 
 
  
 
 
 
  
  
 
 
 

Election to NOT claim first-year special depreciation - 7 Year Property
Pursuant to |RC Section 168(K)(2)(D)(iii), the Taxpayer elects out of first-year special depreci.»
7-Year depreciable property placed in service during the current tax year.

Election to NOT claim first-year special depreciation - 10 Year Property
Pursuant to |RC Section 168(k)(2)(D)(iii), the Taxpayer elects out of first-year speci " for all
10-Year depreciable property placed in service during the current tax year.

Election to NOT claim first-year special depreciation - 15 Year Pro
Pursuant to |RC Section 168(k)(2)(D)(iii), the Taxpayer elects out of fir "
15-Year depreciable property placed in service during the current ta 4

" iation for all

Election to NOT claim first-year special depreciation - 20 Ye

Pursuant to |RC Section 168(k)(2)(D)(iii), the Taxpayer e|e .. out of fir cia| depreciation for all

_. st-year special depreciation for all
275-Year depreciable property placed in service dur urrent tax year.

Election to NOT claim first-year s ion - 39 Year Property
Pursuant to |RC Section 168(k)(2)(D ,. ects out of first-year special depreciation for all
139-Year depreciable property pla '

Election to NOT claim first-yea reciation - A|l Property
Pursuant to |RC Section 168(k)(2)( e axpayer elects out of first-year special depreciation for all

Ta ayer elects to use 50% special depreciation allowance in lieu of 100%
or all classes of assets placed in service after 9/27/2017 and before the

 

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ALCOR ENER(_>,\{1 LLC Case 18'12839'€88 DOC 1

Line 9 (1065)- Sa|aries and Wages

1 Sa|aries

2 Wages . . .

3 LEASED Ei\/iPLOYEE COSTS

4 Total salaries and wages .

Sa|aries and wages reported elsewhere on return:
Amounts inciuded' in Cost of Goods Sold

Eiective contributions to a section 401(k ) cash or deferred

QOI

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_\

554,740
41,804
4

UN

arrangement, or amounts contributed under a salary reductions SEP

agreement or a Sll\/lPLE lRA plan. .

7 Total salaries and wages reported elsewhere on return.
Less employment credits:

8 From Form 5884- Work Opportunity Credit .

9 From Form 8844- EmpowermentZone EmploymentCredit .

10 From Form 8845- indian EmploymentCredit .
11

 

 

12

 

13

 

14 Total employment credits
15 Reduction of expenses for offsetting credits

16 Total salaries and wages less employment credits and expense reductions

 

596,544

0

596, 544

 

 

 

Line 14 (1065)- -Taxes and Licenses
1 Payroiitax . . . . . . .
2 SubTotai. . . .

3 Total taxes and licenses

 
   

Line 180, Sch K (1065) - Nondeductible
C Code C - Nondeductible expenses
Nondeductible portion of meais, travel and entert-'
Total nondeductible expenses

 

 

50,719
50,719
50,719

 

18c

8,273
8,273

 

ALCOR ENERGY, LLC

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Sch L (1065) - Balance Sheets per Books

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1
2a
2b
2c

3

4

5

6
7a
7b

8
9a
9b
90

10a
10b
100

11
12a
12b
12c
13
14

15
16
17
18
19a
19b
20
21
22

"|OO’l-BUN-\

8

Assets

Cash . .
Trade notes and accounts receivable .
Less allowance for bad debts .
Net trade notes and accounts receivable .
inventories
U. S. government obligations
Tax-exempt securities
Other current assets
Loans to partners (or persons related to partners).
i\/lortgage and real estate loans
Other investments . . .
Buildings and other depreciable assets
Less accumulated depreciation .
Net buildings and other depreciable assets .
Depletable assets .
Less accumulated depletion .
Net depletable assets
Land (net of any amortization)
intangible assets (amortizable only)
Less accumulated amortization
Net intangible assets
Other assets
Totalassets

Liabilities and Capital
Accounts payable . .
l\/lortgages notes, bonds payable m less than 1 year
Other current liabilities . . . .
Ail nonrecourse loans .
Loans from partners (or persons related to partners).
l\/lortgages, notes bonds payable in 1 year or more.
Other liabilities . . . . . .
Partners' capital accounts
Total liabilities and capital .

End of year balance sheet out of balance ¢

 
 
 
 
 
  
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Part ll, item Kl 0

 

   

Beginning Ending
1 0 24,879
. 2a 322,165
. 2b
. 2c 0 322,165
3 0 439,046
4
5
6 0 1,200
7a
7b
8 0 0
. 9a 0 7,781,068
. 9b 898,273
9c 6,882,795
. 0 0
1 0 0
0 1,967,864
0 76,528
12 0 1,891,336
1 O 2,079,067
0 11,640,488
15 123,802
16
17 0 0
18
19a 4,775,000
19b
20 0 6,185
21 6,735,501
22 0 11,640,488
.............. 0
1 11,640,488
. 2 0
3 2,288,499
4 0
. 5 0
6 13,928,987
7 4 904, 987
8 13, 928, 987

 

Note: For line 2
interest on Schedu
reduce the amounts

 
    
 

ership reflects partner capital account changes resulting from the sale of a partnership
-‘ g contributions and distributions (on lines 2a and 2b and on lines 6a and 6b, respectively),
6a and 6b by such matching amounts

 

 

 

 

 

 

 

 

 

 

 

             

        

             

 

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

533 553 3 § 33 5 53_3535 3 3 3 3 53,3§ 333.35 3.~ 53§3 333/3003
553 553 3 § ._3 35 53_35 3 3 3 3 53.35 3333 3.~ 53\:3 mm._m_oz§z_ _> 553
ss __§38 33 =s=_ - 55 - SENES_<
353 333 3 3333 3 3 3 3 333 333 353 332 93 _3@ _E 335
333 333 3 § 3333 5 53 3 3 3 3 353 3333 33 53\3:3 oz:ooe ao_._m
335 335 3 >I 333 5 335 3 3 3 3 335 .33.35 351 53::3 3553 32< 553sz
33 33 3 >I 3333 5 333 3 3 3 3 333 3333 353 535:3 mz_Io<_>_ moz§<m
35 35 3 >I 3333 5 335 3 3 3 3 33 3333 351 5333 53._5> o__>_ 333,_>> ~.ee_
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Arizona Form

  

   

For the l calendar year 2017 or |:l fiscal year beginning 06/01 2017 and ending 12/31 20 17 .

 

 

 

 

 

 

 

 

 

    
 
     
 
  
 
 

 

  

 

 

 
 
 

Business Te|ephone Number Name CHECK ONE;
(W“h area °°de) ALCOR ENERGY, LLC Original l:l Amended
( ) Address - number and street or PO Box Employer identification Number (ElN)
Business A°“V“Y Code 7754 E VELOClTY WAY XX-XXXXXXX
(from federal Form 1065) City, Town or Post Office State ZlP Code
333610 l\/lESA AZ 212
rn filed under extension:

Check box if: This is a first return l:] Name change |:' Address change

A DBA; 0 NOT MARK lN Tl-lls AREA.

B Will a composite return be filed on Form 140NR? ................................ I:_\ Yes No

C Total number of nonresident individual partners ............................ 0

D Total number of resident and part-year resident individual partners ....... 0

E Total number Of entity partners See instructions page 3 2

F Date business commenced .................................................. 06/01/2017

G Arizona apportionment for multistate partnerships only (check one box):

G1[:]AlR CARRiER Gz l:l sTANDARl:) 63 sALEs FACTOR ONLY
l:l Check if Multistate Service Provider Election and Computation (Arlzona Schedule MSP) is includ

I

 

   
  
 

indicate the year of the election cycle: l:| Yr1 I:| Yr2 \:l Yr 3 m Yr t

| ls this the partnership's final return under this ElN? ..............................

J Did you file 2015 and 2016 Arizona partnership returns? .............................................. . .. J m
lf "No", state reason: BUSlNESS BEGAN |N 2017

K Have you filed amended federal partnership returns for prior years?

lf "Yes", list years:

    
  
 
   
  
 
  
 
   
 

 

L t-las the internal Revenue Service (lRS) made any adjustme
not previously reported to the department? ................
lf "Yes", indicate year(s):
Submit a copy of the |RS report(s). l
lf the |RS adjustments were for tax years 2016 and 2
must file Arizona Form 165PA to report those c

M The partnership books are in care of:
Located at:

7754 E VELOClTY WAY

Number and street or PO Box

any federal income tax return filed by the partnership

................................................................................ L|:|

1

 

. federal imputed underpayment assessment you

 

AZ 8521 2
State Z|P Code

 

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Form 1065, schedule K. see instructions .............................. 1| -2,279,125| 00
SCHEDULE A: Additions to Pa
A1 Total federal depreciation ...... A1 898,273 00
A2 Non-Arizona muni A2 00
A3 Additions related A3 0 00
A4 Other addi ' A4 0 00
2 Total additions t ........................................ 2 898,273 00
3 Subtotal: Add ll . e tetel. ......................................................................................................................... 3 -1,380,852 00
SCHEDULE B
B1 Recalculat ` ' ' ' : ' ' B1 898,273 00
B2 Basis adjustmen t roperty sold or otherwise disposed of during the taxable
year See instructions ....................... . B2 OO
83 interest from U.S. government obligations ................................................................ B3 O 00
B4 Agricultura| crops charitable contribution: see instructions .......................................... B4 00
BS Other subtractions from partnership income ............................................................. B5 0 00
4 Total subtractions from partnership incomes Add lines Bt through Be. Enterlnetctal .......................................................... 4 898,273 00
Partnership income adjusted to Arizona basis: subtract line 4 from line 3. Enter the difference . 5 -2,279,125 00
6 Net adjustment of partnership income from federal to Arizona basis: subtract line 1 from line 5. Enter the difference .......... 6 0 00
7 Penalty for late filing or incomplete filing: See instructions .............................................................................................. l 7 l |00

 

ADOR 10343 (17)

 

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Name (as shown ori page 1) ElN

ALCOR ENERGY, LLC XX-XXXXXXX

 

 

SCHEDULE C Apportionment Formula (Mu|tistate Partnerships Only)

 

 

 

 

IMPORTANT: Qualifying air carriers must use Arizona Schedule ACA. COLUMN A COLUl\/|N B COLUMN C
Qualifying multistate service providers must include Arizona Schedule Total V\hthin Arizona Total Everywhere Ratio Within Arizona
l\/|SP. lf the "SALES FACTOR ONLY"box on page 1, line G, is checked, ROUnd iO nearest dollar. ROund to nearest dollar. w A + B

   

complete only Section CS, Sales Factor, lines a through f See instructions
C1 Property Factor - STANDARD APPORTIONMENT ONLY
Value of real and tangible personal property (by averaging the value
of owned property at the beginning and end of the tax period; rented
property at capitalized value)t
a Owned Property (at original cost):
lnventories ......
Depreciable assets (do not include construction in progress): .
Land ..........................................................................................
Other assets (describe):
Less: Nonbusiness property (if included in above totals)
Total Of section a (the sum of lines 1 through 4 less line 5)1 ..............
b Rented property (capita|ize at 8 times net rent paid). .............................
c Total owned and rented property (Totel of section a plus section b). .....
02 Payrol| Factor - STANDARD APPORT|ONMENT ONLY
Total wages, salaries, commissions and other compensation to
employees (per federal Form 1065, cr payroll reports). ................................ l g 0
C3 Sales Factor '
a Sa|es delivered or shipped to Arizona purchasers .........................
b Sales of services for qualifying multistate service providers

 

 

 

 

 

 

 

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only (include Schedule |\/lSP) .......................................................
c Other gross receipts ................................................................
d Total sales and other gross receipts ............................ .. 1,125,977
e Weight AZ sales: (STANDARD x 2; SAl_ES FACTOR ONLY x 1 ............. x 2 OR x 1
f Sales Factor (for Column A, multiply line d by li ' `

Column B, enter the amount from line d; for Column
Column A by Column B.)
STANDARD Apportionment, continue to C4.
sALEs l=Ac'roR oNl_Y Apportionmen z "
Column C on Arizona Form 165, Sche " , __
column (b). ............................................ 1,125,977 1,125,977 1.000000
04 STANDARD Apportionment To l of lines th, C2, and C3f. Enter the total. .............................
05 Average Apportionment Rati rtionment: Divide line C4, Column C, by four (4). Enter the
result on Arizona Form 165, Sche 1, column (b). (lf one of the factors is “0" in both Column A
and Column B, see instructions) ....... ( ............................................................................................................

 

 

 

 

 

 

 

Describe briefly the n ' he partnerships Arizona business activities:

l\/|ANUFACTURE _ OF TURB|NES FOR THE O|L AND GAS INDUSTRY

 

 

 

Describe briefly the nature and location(s) of the partnership's business activities outside of Arizona:

 

 

 

 

ADOR 10343 (17) AZ Form 165 (2017) Page 2 of3

 

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Name (as shown on page 1) ElN

ALCOR ENERGY, LLC XX-XXXXXXX

SCHEDULE E Partner information

Prepare a schedule that lists each partner's name, address, taxpayer identification number, and pro rata share of the amount shown on line 5. Label
the listing as "Schedule E: Partner lnformation" and include the schedule immediately after page 3 of Form 165.

 

 

 

 

        
     
 
  
  

turn, including the accompanying

|, the undersigned partner of the partnership for which this return is made, declare under penalty of perjury, that
plete return. made in good faith,

schedules and statements has been examined by me and is to the best of my knowledge and belief, a correct a
for the taxable year stated pursuant to the income tax laws of the State of Arizona.

 

 

 

 

PARTNER’s slGNATuRE DATl-:
DElRDRE l\/l l\/lORHET 3/6/2018 P00918370
PAlD PREPARER's SlGNATLiRE o " Alo PREPARER's PTlN

X-XXXXXXX

FlRli/l's ElN 0R [:] ssN

480~355-1398

BASC EXPERTISE OF AZ LLC
FiRi\/l's NAli/lE (oR PAlo PREPARER's NAll/lE, iF sELF-EMPLOYED)

3303 E Baseline Rd ste 107

 

 

 

FlR|\/l'S STREET ADDRESS F|RM'S TELEPHONE NLJMBER
Gilbert 85234
ClTY ZlP CODE

 

 

 

 

 

 

 

Mail to: Arizona Department of Re _ e, PO Box 52153, Phoenix, AZ 85072-2153

 

ADOR 10343 (17) AZ Form 165 (2017) Page 3 of3

 

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AZ Form 165 (2017) Schedule E ALCOR ENERGYl LLC XX_XXXXXXX Page 4 of 4
lnformation Social security Percent of Pro rata share Check here if
on Partners Name and address number and/or ownership of income partner is
Partners federal lD number (loss) nonresident
ALCOR ENEREGY SOLUT|ON
1 7754 E VELOClTY WAY
CHANDLER, AZ 85207 XX-XXXXXXX 50.000000% -1,139,562 X
OCHO VENTURA, LLC
2 31 W|NDl\/||LL WAY
CALGARY Canada XX-XXXXXXX 50.000000% -1,139,563 X

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

17

 

18

 

 

 

AooR10343(17)

TOTALS

 

100.000000%

 

 

-2,279,125

 

 

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Arizona Form Arizona Nonresident and Out-of-State Partner's
165 Schedule K-1(NR) Share of lncome and Deductions

 

Fcr tne|jcelencier year 2017 or fiscal year beginning 06/01 2017 end ending 12/31 20 17

cHEcK oNE: original l:l Amended
Partner's identifying Number
XX-XXXXXXX
Partner's Name #1
ALCOR ENEREGY SOLUT|ONS LLC
Partner's Address - number and street or rural route
7754 E VELOClTY WAY

   
   
  
  
     

 
  

    
  
  
   
   
  

  

Partnership’s Employer ldentification Number (ElN)
XX~XXXXXXX
Partnership's Name

ALCOR ENERGY LLC
Partnership's Address -

 

   
   
  

 
  
  

or rural route

 
   
 
  

7754 E VELOClTY WA
Partnership's City, T

|Vl ESA

    

       

   

ZlP Code
8521 2

ZlP Code
85207

Partner's City, Town or Post Office
CHANDLER

       

             
 
    

AZ

  

Partner's of Vear

   
  

Profit Shari ................................................................ . 50.000000%

    
       
  

Loss shari ................................................................ . 50.000000%

 
 
   
 
  
  
 
 
 
   
 
    
 
 

    
  
 
      

Ownersh of ................................................... 50.000000%

T of . ........................

 

    

(b)

Arizona

(C)
Arizona
Source income

Form 14ONR Fi|ers:
Enter the amount
in column (c) on:

   
  
   

    
 

     
  
   
  
  

Ordinary income (loss) from trade or
activities .................. .
from rental real estate

        
  
  
    
     

  
 
 
 

  
   
   
  
   

.......... -1 139 562 1.000000 -1 139 562

   
   
 

         

      

   
     
     

  

 

   

     
   
  
  
  
 
 
 
  

2 Net income 0 0

3 Net income from other rental activities . 0 0

4 Total: Add lines 1 and 3 ........................ ....... -1 139 562 -1 139 562 Line 21
5 |nterest .................................................................. Line 16
6 Dividends ....................................................... Line 17
7 .............................................. .. Line 21
8 Net short-term ............. .. Line 20

  

  

Net .......................... Line 20

Net |RC Section 1231 .................................. Line 20
12 Deferred amount of
income included in
under |RC ............................................... Line 22
13 Other income .................................. Line 22
14 Reserved ..............................................................
15 Deferred amount of discount deduction
included in federal income current year under
|RC Section 1 ................................................................. Line 21

 
  
   

 

      
    
      
    
 

 

   

 
 
    

         
 
   

     
 

  

 

16 Other deductions: include schedule ...................................... 1.000000
(a) (b) (C) Form 140NR Fllers;
Distributive Arizona Arizona Enter the amount

ShareAmount ApportionmentRatio Source|ncome in CO|Umn(C)O“?

 

Adjustment of partnership income from federal to
Arizona basis from Form 165, page 1, line 6 ........................ 0 0 Line 29 or 39
NOTE: Corporate partners see Form 120 or Form 120A instructions for information on reporting the amount from line 17.

 

 

 

 

 

 

ADOR 10345 (17)

 

Case 18-12839-CSS DOC 1 Filed 12/19/18 Page 58 of 64

 

Name of Partnership (as shown on page 1)
ALCOR ENERGY, LLC

 

ElN

 

XX-XXXXXXX

 

 

m Net Capital Gain From investment in a Qua|ified Smai| Business - information Schedule
if the partner's federal Schedule K-1 (Form 1065) does not include any net capital gain or loss from investment
in a qualified small business as determined by the Arizona Commerce Authority, the partnership is not required to

complete Part 3,

 

(3)
Distributive Share
Amount

(b)

Arizona

Apportionment Ratio

  
 
 

 

 

18 Net capital gain (loss) from investment in a
qualined small business .................................. 18

 

 

 

m Net Long-Term Capital Gain Subtraction - information Schedule
if the partner's federal Schedule K-1 (Form 1065) includes capital gain (loss), complete iine 19
does not include any capital gain (loss), the partnership is not req

Schedule K-1 (Form 1065)

   

  
  
 

 

 

  
 
 

plete Part 4.

if the partner's federal

 

 

    
    
    
 
 
   

(a)
Distributive Share
Amount

  

19 Total net long-term capital gain (loss) ............. 19

 

(b)

 

(d)
Net long-term capital
gain (loss) included
in column (b) from
assets acquired after
December 31, 2011

 

 

 

 

 

 
 
 
 
 
  

ADDlT|ONAL lNFORi\/lAT|ON:
20 Net long-term capital gain (loss) from
investment in a qualined small business
(amount already included iri line 19,
column d) ........................................................ 20

 

 

ADOR 10345 (17)

Az Form 165, schedule K-1(NR) (2017)

Page 2 of 2

 

Case 18-12839-CSS DOC 1 Filed 12/19/18 Page 59 of 64

 

Arizona Form Arizona Nonresident and Out-of-State Partner's
165 Schedule K-1 NR Share of income and Deductions

   
 

Fortne|:]celencler year 2017 cr fiscal year beginning 06/01 2017 end ending 12/31 20 17 .

cHEcK 0NE: Original l:] Amended
Partner's identifying Number
XX-XXXXXXX
Partner's Name
OCHO VENTU LLC
Partner's Address - number and street or rural route
31 WlNDl\/iiLL WAY

 
   
  
  
   
 
  
 

   
    
  
   
  
  

Partnership’s Employer identification Number (ElN)
XX-XXXXXXX
Partnership's Name

ALCOR ENERGY LLC
Partnership's Address -

   
   
  

    
   

     

or rural route

   
 
  

7754 E VELOClTY WA
Partnership's City, T

lVlESA

          
  

   

ZlP Code
85212

Partner's City, Town or Post Office ZlP Code

CALGARY

        

 
  
   

Partner's of Year

   
  

 

    
   
     
  
 
      

Proflt S ............................................................... . 50.000000%

 

................................................................ . 50.000000%

Ownersh of ................................................... 50.000000%

 
   

 

T of " . ........................

     

  
 
 

(b)

Arizona

(C)
Arizona
Source income

Form 140NR Filers:
Enter the amount
in column (c) on:

   
   
 

     
  

  
  
  
   
 
  
   
  
  
 
 
  
        
    
      
     

     
   

Ordinary income (loss) from trade or
business ................. -1 139 563
Net income O
Net income from other rental activities . ..... 0

    

  
    
    

    
     

-1 139 563
0
0

11000000

   
   
    
  
   

   
 

         
   
      

 

    
     

       

       
    
  
     
   

Total; Add lines 1 and 3 ....................... ...... -1 139 563 -1 139 563 Line 21
interest ................................. ............... 0 Line 16
Dividends ...... Line 17

............................................ .. .. Line 21
................... Line 20
Net ............................... Line 20
Guaranteed .................................
Net |RC Section 1231 .................................. Line 20
Deferred amount of
income included in
under |RC .............................................. Line 22
13 Other income .................... Line 22
14 Reserved .............................................................
15 Deferred amount of discount deduction
included in federal income current year under
|RC Section 1 .................................................................

 

    
  

  

 
 
    
 

    
   

   

    
   

 

16 Other deductions: include schedule ..................................... 1.000000
(a) (b) (C) Form 140NR Filere:
Distributive Arizona Arizona Enter the amount

ShareAmount ApportionmentRatio Source|ncome in CO|Umn(C)On¢

 

 

17 Adjustment of partnership income from federal to
Arizona basis from Form 165, page 1, line 6 ........................ 0

 

 

 

 

O

Line 29 or 39

 

NOTE: Corporate partners see Form 120 or Form 120A instructions for information on reporting the amount from line 17.

 

AooR 10345 (17)

 

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Name of Partnership (as shown on page 1)
ALCOR ENERGY, LLC

 

ElN
XX-XXXXXXX

 

 

m Net Capital Gain From investment in a Qua|ified Sma|i Business - information Schedule
if the partner's federal Schedule K-1 (Form 1065) does not include any net capital gain or loss from investment
in a qualified small business as determined by the Arizona Commerce Authority, the partnership is not required to

complete Part 3.

 

18 Net capital gain (loss) from investment in a
qualified small business .................................. 18

 

(b)
Arizona
Apportionment Ratio

(3)
Distributive Share
Amount

  
 
 

 

 

 

  

 

m Net Long-Term Capital Gain Subtraction - information Schedule
if the partner's federal Schedule K-1 (Form 1065) includes capital gain (loss), complete line 1
Schedule K-1 (Form 1065) does not include any capital gain (loss), the partnership is not req

 
 

19 Total net long-term capital gain (loss) ............. 19

   
   

 

  
 

 

plete Part 4.

if the partner's federal

 

 

(3)
Distributive Share
Amount Source
From page 1,
line 9, column a .

From page 1
colum

    

 

    
    
   
      
   

 
 

(|0 ) included
iumn (b) from
is acquired before

nuary 1, 2012

(d)
Net long-term capital
gain (loss) included
in column (b) from
assets acquired after
December 31, 2011

 

  
  

 

 

ADD|T|ONAL lNFORi\/lAT|ON:

20 Net long-term capital gain (loss) from
investment iri a quaiined small business
(amount already included in line 19,
column d) ......

 

 
 
 
 
 
  

 

ADOR 10345 (17)

Az Form 165, schedule K-1(NR) (2017)

Page 2 0f2

 

 

 

 

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r 2017 FORM 300 Page1 1
PARTN ERSH|P RETURN oo NoT wale oR sTAPLE lN Ti-ils ARi-:A
DF30017011833
FlscAL YEAR 0 6 0 1 1 7 1 2 3 1 1 7 REv coDE ooos
Business NAME EMPLOYER loENriFchrlon NuivleaR

ALCOR ENERGY, LLC X X X X X X X X X

  
   
   
 
   
 
 
  
   
   
  
 
  
 
 
 
 
 
   
 
  
 
 
 
 
 
 
 
  
  
  
 
  
  

AooREss
77 54 E VELOCITY WAY
ciTY sTATE zlP cope NATuRE oF Business < NsTRucTioNs>
ME SA AZ 8 5 2 1 2 3 3 0
A. ancx APPLloABLE Box Ai/iENoEo RETURN PARTNERsHlP olssoLon on lNAchvE
lF THE PARTNERsHlP AooREss HAs oHANoED, lecH AooREss is AFFECTED? LocATloN

a. oio THE PARTNERsHlP HAvE insolle nealon FROM on coNNEcTEo wer souRoEs lN DELAwARE
oio THE PARTNERsHiP HAvE DELAwARE REsloENr PARTNERS? Yes X No now MANY?
forAL nuivlal-:Rs oF PARTNERS: 2

o, YEAR PARTNERsHlP FoRi/lEo; 2 0 1 7

ATTACH COMPLETED COPY OF U.S. PARTNERSH|P RETURN OF lNCOME FORM 1065 AND ALL SCHEDUL'

 

 

1. Ordinary income (loss) from Federai Form 1065. Schedule K, Line 1 ....... 1 '“ 2 2 7 9 l 2 5 1
2_ Apportionment percentage from Deiaware Form 300, Schedule 2, Line 16.. 2 O . O 0 0 0 2
3. Ordinary income apportioned to Delaware. ii/iultiply l_ine 1 times Line 2... ...... 3 0 3
Column A Column B
Total Within Deiaware

4. Enter in Column A the amount from Line 1
Enter in Column B the amount from Line 3 .................................................................... 4 ”2 2 7 9 1 2 5 0 4

5. Net income (loss) from rental real estate activities

 

 

 

 

 

 

 

 

 

Federai Form 1065, Schedule K, Line 2 5 0 () 5
6. Net income (loss) from other rental activities,

Federai Form 1065. Schedule K, Line 30 ..... 6 0 0 5
7. Guaranteed payments from Federai Form 1065, Sche 7 0 0 7
8. interest income from Federai Form 1065, Schedule .. .......................................... 3 0 O 9
9. Dividend income from Federai Form 1065, Sched .. ........................................... 9 0 0 9
10. Royalty income from Federai Form 1065, Sch 10 0 0 10
11. Net short term capital gain (loss) from 22

Federai Form 1065, Schedule K, Li ' ..................................................... 11 0 0 11
12a. Net long term capital gain (loss) from

Federai Form 1065, Schedule K, Line 9(a).. 123 0 O 123

b. collectible gain (loss) - 0 12b

c. Unrecaptured Section 125 0 126
13. Net gain (loss) under S

Federai Form 10 13 0 0 13
14. Other income (loss) (

Federai Form 10 14 0 0 14
15. Total income (Combine L " 12a, Line 13, and Line14) .......................................................... 15 _2 2 7 9 12 5 0 15
oEouchoi\is: ' `
16. Charitable Contributions from

Federai Form 1065, Schedule K, Line 13(a) ......... 15 1 1 0 ]_ 0 15
17. Sectlon 179 expense deduction from

Federai Form 1065x Schedule K, Line 12 17 0 0 17
18. Expenses related to investment income (loss) from

Federai Form 1065, Schedule K, Line 13(b) and 13(r‘l 13 0 0 18
19. other deductions from Federai Form 1065, schedule l<, Line isrd) .......................................................... 19 O O 19

b 1833 l

 

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r FORM 300 2017 Page 2 1

SCHEDULE 2 - APPORT|ONMENT PERCENTAGE. COMPLETE ONLY lF PARTNERSH|P HAS INCOME DERIVED FROM OR CONNECTED WITH SOURCES
|N DELAWARE AND AT LEAST ONE OTHER STATE, AND lF |T HAS ONE OR MORE PARTNERS WHO ARE NO`l' RES|DENTS lN DELAWARE.

SECTlON A - GROSS REAL AND TANG|BLE PERSONAL PROPERTY

   
  
  
   
 
  
  
 
 
 
 

 

 

 

 

 

 
 
 
 
 
 
 
 
 
 
 
 
 
 
  
   
 
  

 

 

 

COLUMN A COLUMN B
Delaware Sourced Total Sourced (Aii Souroes)
Beginning onear End of Year Beginning uerar End of Vear
1. Total real and tangible property owned ....................................................................... O O O 4 3 9 O 4 6 1
2. Reai tangible property rented (eight times annual rent paid) ...................................... O O 9 l 8 1 6 l 9 9 1 8 l 6 2
3_ Torel (cornoine Linee 1 and 21 0 0 1 8 1 6 2 4 3 0 8 62 3
4. Less: value at original cost of real and tangible property (see instructions) ............... 4
5. Net values (subtrect Line 4 from Line 31 ........................ 0 6 2 4 3 0 8 62 5
6. Total (Combine Line 5 Beginning and End of Year Totais) ......................... O 4 4 2 2 67 8 6
7. Average values. (Divide Line 6 by 2) 2 2 l 1 3 3 9 7
SECTION B - WAGES, SALAR|ES, AND OTHER COMPENSAT|ON PA|D OR ACCRUED TO EMP
8. Wages, salaries and other compensation of ali employees ....................................................... 5 9 6 5 4 4 8
SECT|ON C - GROSS RECE|PTS SUBJECT TO APPORT|ONMENT
9. Gross receipts from sales of tangible personal property. l l 2 5 9 7 7 9
10, Gross income from other sources (see attachment) ......................................... 0 0 10
11. Total .. .. ..... 0 1125977 11
SECT|ON D - DETERM|NAT|ON OF APPORTIONMENT PERCEN S
12a. Enter amount from Column A, Line 7 ................................................... 0
: _ 12A
12b. Enter amount from Column B, Line 7 ........................................... 2211339 0 OOOO
13a Enter amount from Column A, Line B. O
= _ 13A
13b. Enter amount from Column B, Line 8 ............................... 5 9 65 4 4 0 0 0 0 0
14a. Enter amount from Column A, Line 11 ..... 0
: _ 4A
14b. Enter amount from Column B, Line 11 ............. , .................... 1125977 0 OOOO 1
15. Total (cornoined Apportionment Percente - 0 . 0 0 0 0 15
16. Apportionment percentage (see specinc 0 . O O 0 O 16

 

UNDER PENALTIES OF PERJUR :;X' VE EXAMINED THIS RETURN, lNCLUDING ACCOMPANYING SCHEDULES AND
STATEMENTS, AND TO THE BES `

OTHER THAN TAXPA YER, ASED ON ALL INFORMA TION OF WHICH HE/SHE HAS ANY KNOWLEDGE.

SiGNATURE OF PART DATE TELEPHONE NUMBER EMA|L ADDRESS

DElRDRE l\/l |\/iORHET

xxxxxxxxx 480-355-1398 3/6/2018
SlGNATURE OF PREPARER PREPARER‘S ElN OR SSN PREPARER'S PHONE DATE
3303 a BASELINE RD sTE 107 G:LBERT Az 85234
STREET ADDRESS OF PREPARER ClTY STATE ZlP

iviAil. fogv oivlslor~l ol;'.' REvl-:Nua, P'.o'; cox 3193`,'.wiLminGygN,i:ijE£AwARa'19'§ ff

h (Revieed 10/2017) oF30017021833 l
1833

 

 

 

 

 

 

 

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2017
DELAWARE

orFiscaiYearbeginning 0 6 0 1 1 7

Partner's identifying Number > XXXXXXXXX

Partner's Business.Name #1
ALCOR ENEREGY SOLUTIONS LLC

_()R -

Partner's First Name
Partner's Last Name
Partner's Type of Entity (see instructions)
Code Description

l 3 LIMITED LIABILITY C

Al|ocabie Share of income

1. Ordinary income (Loss) from Trade of Business Activities .........
2. Net income (Loss) frorn Rentai Reai Estate Activities .......
3. Net income (Loss) from Other Rentai Activities ................
4. Guaranteed Payment to Partner ...................................
5. interest ................................................................
6. Dividends .....................................................
7. Royaities ................................................
8. Net Short-term Capital Gain (Loss)
9. Net Long-term Capital Gain (Loss)....

10. Net Gain (loss) under 1231
(other than Due to Casuali

11. ...............

Other income (Loss).5

12. Total income (Co

Allocab

 

» uctions

13. Charitable Contribution .....................................................

14. Section 179 Expense Deductions ....................................
15. Expenses from Portfoiio income .......................................

16.

Other Deductions/Credits (Attach Scheduie) ...................

(Revised 05/2017)
1833

FORM 300, SCHEDULE K-1
PARTNER'S SH/-\RE OF lNCOl\/lE

ElN X SSN

Resident

X Non-Resident

Federai 1065, Sc

   
   
 
 
 
 
 
 
 
   
   
   

Federai 1065, Schedule K-1 Amount

Page 1

andending 1 2 3 1 1 7

Partnership’s identifying Number > XXXXXXXXX

Partner's Address
7754 E VELOClTY WAY

 
 
 
 
  
    
  
  
  

City State Zip-Code
CHANDLER AZ 85207
Country
Attention
Part Profit, Loss and Capitai:
Beginn Ending
Profit: Profit; 5 0 . 0 0 0 0 0 0
Loss: Loss: B0.000000
Capitai: Capitai: 50 . 000000
Column A Column B

Portion of items Derived from Sources in DE

0

0

0 0
0 0
0 0
0 0
0 0
0 0
0 0
0 0
0 0
-1139562 0

Column B
Portion of items Derived from Sources in DE

Column A

5 5 0 0

0 0

0 0

0 O
||||||||||||||||||l|lli|||l|||||ll||ll|i||||l||l|l||ll|l|l|l|i|l|i|li|||||l

DF30117011833

 

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2017
DELAWARE

FORM 300, SCHEDULE K-1
PARTNER'S SHARE OF iNCOi\/lE

Page 1

orFisca|Yearbeginning 0 6 0 1 1 7

andending l 2 3 1 1 7

Partner's identifying Number > XXXXXXXXX ElN X SSN Partnership's identifying Number
Partner's Business Name #2 Partner's Address
OCHO VENTURA, LLC 31 WINDMILL WAY
city
"OR' cALoARY
Partner's First Name Country
CANADA
Partner's Last Name Attention
Partner's Type of Entity (see instructions)
Code Description Resident Profit:
Loss:
1 4 oTHER - PLEASE DESC x Non-Resident Capitai:
Column A

Ai|ocab|e Share of income

 

 

Federai 1065, Sc le

   
 
   
 
 
 
 
 
 
 
 
 
 
    
  

1. Ordinary income (Loss) from Trade of Business Activities .........
2. Net income (Loss) from Rental Reai Estate Activities .......
3. Net income (Loss) from Other Rental Activities ................ 0
4. Guaranteed Payment to Partner .................................... 0
5. interest .................................................................... 0
6. Dividends ...................................................... 0
7. Royalties ................................................ 0
8. Net Short-term Capital Gain (Loss) 0
9. Net Long-term Capital Gain (Loss).... 0
10. Net Gain (loss) under 1231

(other than Due to Casuali ' ....... 0
11. Other income (Loss .............. 0
12. Totailncome(Co e11) ........................ -1139563

A"°°ab ' ucti°“$ Federai 1065§,: (s’!:ll|r';ll:il§K-t Amount

13. Charitable Contribution ..................................................... 551
14. Section 179 Expense Deductions .................................... 0
15. Expenses from Portfolio income ....................................... 0
16 Other Deductions/Credits (Attach Schedule) ...................

(Revised 05/2017)
1833

0

> XXXXXXXXX

State Zip-Code

 
 
    
  
 
 
 
  
    

Profit, Loss and Capitai:

Ending
Profit: 50.000000
Loss: 50.000000
Capita|: 50.000000
Column B

Portion of items Derived from Sources in DE

Column B
Portion of items Derived from Sources in DE

llll|||l|l|||||l|i|||i|l||||||ll|l|||l|||lil|l|||

DF30117011833

 

